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                    EXHIBIT B
                                    Case 22-15317 Doc 1 Filed 09/28/22 Page 1 of 69
     Fill 111 this 111formation to 1dcnt1fy your case:
                            Case 1:23-cv-01795-JKB Document 23-2 Filed 07/19/23 Page 2 of 70
     United States Bankruptcy Court for the:

     District of Maryland
                                                  B
     Case number (It known): _ _ _ _ _ _ _ _ _ _ _ Chapter you are filing under.
                                                                      i!I Chapter?
                                                                                                        f iLE.0
       2-1-\5511
                                                                      □ Chapter 11
                                                                      □ Chapter 12                1112 SEP 26 P.M \Q: 4 I
                                                                      □ Chapter 13                                      D Check if this is an
                                                                                                  \.IS OAHK~Ur' f GY C:OUR~mended filing

                                        $\/)}~){\\ ~ I~$"
                                                                                                   61STRICT OF HMtYLAHf'
                                                                                                     .   8._LTl?-1DRJ:"
Official Form 101
Voluntary Petition                                    t; Individuals Filing for Bankruptcy                                                        02/20

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together-called a
Joint cas.-and In joint cases, these forms use you to ask for Information from both debtors. For example, If a form asks, "Do you own a car,"
the answer would be yes If either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.


■§f       I   Identify Yourself

                                         About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
1.    Your full name
      Write the name that is on your
      government-issued picture
                                          DR.KEENAN
                                          First name                                                   First name
      identification (for example,
      your driver's license or            KESTER
      passport).                         Middle name                                                   Middle name

      Bring your picture                  COFIELD
      identification to your meeting     Last name                                                     Last name
      with the trustee.
                                         Suffix (Sr., Jr., II, 111)                                    Suffix (Sr., Jr., 11, Ill)




2.    All other names you                 LAVERNE
      have used in the last 8            First name                                                    First name
      years
      Include your married or            Middle name                                                   Middle name
      maiden names.                       THOMPSON
                                         Last name                                                     Last name

                                          CHERE'
                                         First name                                                    First name
                                         K.
                                         Middle name                                                   Middle name
                                         NEDD
                                         Last name                                                     Last name




3.    Only the last 4 digits of
                                         XXX           xx - _5__4_ _o__7_                              XXX           XX -
      your Social Security
      number or federal                  OR                                                            OR
      Individual Taxpayer
      Identification number              9 xx          xx                                              9xx-xx
      (ITIN)

Official Form 101                                     Voluntary Petition for Individuals Filing for Bankruptcy                          page 1
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Debtor 1         DR. KEENAN KESTER COFIELD                    Case number (if known)_ _ _ _ _ _ _ _ _ _ _ _ __
                 First Name   Middle Name                 Last Name




                                            About Debtor 1:                                               About Debtor 2 (Spouse Only In a Joint Case):


4.     Any business names
       and Employer                         D I have not used any business names or EINs.                 D I have not used any business names or EINs.
       Identification Numbers
       (EIN) you have used in               HENRIETTA LACKS, LLC
       the last 8 years                     Business name                                                 Business name

       Include trade names and              WORLD CARES AND FOOD BANK
       doing business as names              Business name                                                 Business name


                                               8 3 2 3 0 7 1 9 6
                                            EIN                                                           EIN

                                               8 5_3 6 8 1 3 0 2
                                            EIN                                                           EIN




s. Where you live                                                                                         If Debtor 2 lives at a different address:


                                            4109 CUTTTY SARK RD.
                                            Number           Street                                       Number         Street




                                            MIDDLE RIVER                              MD        21220
                                            City                                      State    ZIP Code   City                                  State     ZIP Code

                                            BALTIMORE
                                            County                                                        County


                                            If your mailing address is different from the one             If Debtor 2's mailing address is different from
                                            above, fill it in here. Note that the court will send         yours, fill it in here. Note that the court will send
                                            any notices to you at this mailing address.                   any notices to this mailing address.


                                            1236 KENDRICK RD
                                            Number          Street                                        Number         Street



                                            P.O. Box                                                      P.O. Box

                                            ROSEDALE                                  MD        21237
                                            City                                     State     ZIP Code   City                                  State    ZIP Code




6.    Why you are choosing                  Check one:                                                    Check one:
      this district to file for
      bankruptcy                            D Over the last 180 days before filing this petition,         D Over the last 180 days before filing this petition,
                                                   I have lived in this district longer than in any          I have lived in this district longer than in any
                                                   other district.                                           other district.

                                            D I have another reason. Explain.                             D I have another reason. Explain.
                                                   (See 28 U.S.C. § 1408.)                                       (See 28 U.S.C. § 1408.)




     Official Form 101                                   Voluntary Petition for Individuals Filing for Bankruptcy                                 page 2
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Debtor 1         DR. KEENAN KESTER COFIELD                     Case number (if known). _ _ _ _ _ _ _ _ _ _ _ __
                 First Name   Middle Name              Last Name




•Mil           Tall the Court About Your Bankruptcy Casa


7.     The chapter of the                   Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
       Bankruptcy Code you                  for Bankruptcy (Fonn 2010)). Also, go to the top of page 1 and check the appropriate box.
       are choosing to file
       under
                                            0 Chapter 7
                                            0 Chapter 11
                                            □ Chapter 12

                                            □ Chapter 13


a. How you will pay the fee                 O I will pay the entire fee when I file my petition. Please check with the clerk's office in your
                                                 local court for more details about how you may pay. Typically, if you are paying the fee
                                                 yourself, you may pay with cash, cashier's check, or money order. If your attorney is
                                                 submitting your payment on your behalf, your attorney may pay with a credit card or check
                                                 with a pre-printed address.

                                            0 I need to pay the fee in installments. If you choose this option, sign and attach the
                                                 Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                            i2I I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                                 By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                                 less than 150% of the official poverty line that applies to your family size and you are unable to
                                                 pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                                 Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


9.     Have you filed for                   ONo
       bankruptcy within the
       last 8 years?                        i2I Yes. District OF MARYLAND                      When   06/16/2020     Case number 120- 16090
                                                                                                      MM/ DD/YYYY

                                                      District                                 When                  Case number
                                                                                                      MM/ DD/YYYY

                                                      District                                 When                 Case number
                                                                                                      MM/ DD/YYYY



10. Are any bankruptcy                      0 No
      cases pending or being
      filed by a spouse who is              □ Yes.    Debtor                                                        Relationship to you
      not filing this case with                       District                                 When                 Case number, if known
      you, or by a business                                                                           MM/DD /YYYY
      partner, or by an
      affiliate?
                                                      Debtor                                                        Relationship to you

                                                      District                                 When                 Case number, if known
                                                                                                      MM/DD/YYYY


                                             I
11. Do you rent your                    ~ o . Go to line 12.
      residence?                        0 Yes. Has your landlord obtained an eviction judgment against you?
                                                      0 No. Go to line 12.
                                                      0 Yes. Fill out Initial Statement About an Eviction Judgment Against You (Fonn 101A) and file it as
                                                           part of this bankruptcy petition.




     Official Fonn 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                  page 3
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Debtor 1      DR. KEENAN KESTER COFIELD                    Case number (if known),_ _ _ _ _ _ _ _ _ _ _ _ __
              First Name       Middle Name             Last Name




           Report About Any Businesses You Own as a Sole Proprietor


12. Are you a sole proprietor                i2I No. Go to Part 4.
   of any full- or part-time
   business?                                 D Yes. Name and location of business
   A sole proprietorship is a
   business you operate as an
                                                     Name of business, if any
   individual, and is not a
   separate legal entity such as
   a corporation, partnership, or
                                                     Number        Street
   LLC.
   If you have more than one
   sole proprietorship, use a
   separate sheet and attach it
   to this petition.
                                                      City                                                  State        ZIP Code


                                                     Check the appropriate box to describe your business:

                                                     D Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                     D Single Asset Real Estate (as defined in 11 U.S.C. § 101 (51 B))
                                                     D Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                     D Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                     D None of the above

13. Are you filing under                     If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
   Chapter 11 of the                         can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
   Bankruptcy Code and                       most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
                                             any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1 )(B).
   are you a small business
   debtor?                                   0 No. I am not filing under Chapter 11.
   For a definition of small                 D No. I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
   business debtor, see
                                                     the Bankruptcy Code.
   11 U.S.C. § 101(51D).
                                             D Yes. I am filing under Chapter 11, I am a small business debtor according to the definition in the Bankruptcy
                                                     Code, and I do not choose to proceed under Subchapter V of Chapter 11.
                                             D Yes. I am filing under Chapter 11, I am a small business debtor according to the definition in the
                                                     Bankruptcy Code, and I choose to proceed under Subchapter V of Chapter 11.
           Report If You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


14. Do you own or have any                   i2I No
   property that poses or is
   alleged to pose a threat                  D Yes. What is the hazard?
   of imminent and
   identifiable hazard to
   public health or safety?
   Or do you own any
   property that needs                                If immediate attention is needed, why is it needed? _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
   immediate attention?
   For example, do you own
   perishable goods, or livestock
   that must be fed, or a building
   that needs urgent repairs?
                                                      Where is the property? _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                                Number        Street




                                                                                City                                         State      ZIP Code


 Official Form 101                                    Voluntary Petition for Individuals Filing for Bankruptcy                                 page4
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Debtor 1      DR. KEENAN
                  Case         KESTER COFIELD
                        1:23-cv-01795-JKB      Document 23-2 Filed
                                                                 Case07/19/23            Page
                                                                      number (if known), _      6 of 70
                     MlddleNeme
              First Name             Last Name




           Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
1s. Tell the court whether
    you have received a
    briefing about credit            You must check one:                                          You must check one:
    counseling.
                                     0 I received a briefing from an approved credit              0 I received a briefing from an approved credit
                                        counseling agency within the 180 days before I               counseling agency within the 180 days before I
   The law requires that you            flied this bankruptcy petition, and I received a             filed this bankruptcy petition, and I received a
   receive a briefing about credit      certificate of completion.                                   certificate of completion.
   counseling before you file for
                                        Attach a copy of the certificate and the payment             Attach a copy of the certificate and the payment
   bankruptcy. You must
                                        plan, if any, that you developed with the agency.            plan, if any, that you developed with the agency.
   truthfully check one of the
   following choices. If you
                                     0 I received a briefing from an approved credit              0 I received a briefing from an approved credit
   cannot do so, you are not
                                        counseling agency within the 180 days before I               counseling agency within the 180 days before I
   eligible to file.
                                        filed this bankruptcy petition, but I do not have a          flied this bankruptcy petition, but I do not have a
                                        certificate of completion.                                   certificate of completion.
   If you file anyway, the court
                                        Within 14 days after you file this bankruptcy petition,      Within 14 days after you file this bankruptcy petition,
   can dismiss your case, you
                                        you MUST file a copy of the certificate and payment          you MUST file a copy of the certificate and payment
   will lose whatever filing fee
                                        plan, if any.                                                plan, if any.
   you paid, and your creditors
   can begin collection activities   0 I certify that I asked for credit counseling               0 I certify that I asked for credit counseling
   again.                               services from an approved agency, but was                    services from an approved agency, but was
                                        unable to obtain those services during the 7                 unable to obtain those services during the 7
                                        days after I made my request, and exigent                    days after I made my request, and exigent
                                        circumstances merit a 30-day temporary waiver                circumstances merit a 30-day temporary waiver
                                        of the requirement.                                          of the requirement.
                                        To ask for a 30-day temporary waiver of the                  To ask for a 30-day temporary waiver of the
                                        requirement, attach a separate sheet explaining              requirement, attach a separate sheet explaining
                                        what efforts you made to obtain the briefing, why            what efforts you made to obtain the briefing, why
                                        you were unable to obtain it before you filed for            you were unable to obtain it before you filed for
                                        bankruptcy, and what exigent circumstances                   bankruptcy, and what exigent circumstances
                                        required you to file this case.                              required you to file this case.
                                        Your case may be dismissed if the court is                   Your case may be dismissed if the court is
                                        dissatisfied with your reasons for not receiving a           dissatisfied with your reasons for not receiving a
                                        briefing before you filed for bankruptcy.                    briefing before you filed for bankruptcy.
                                        If the court is satisfied with your reasons, you must        If the court is satisfied with your reasons, you must
                                        still receive a briefing within 30 days after you file.      still receive a briefing within 30 days after you file.
                                        You must file a certificate from the approved                You must file a certificate from the approved
                                        agency, along with a copy of the payment plan you            agency, along with a copy of the payment plan you
                                        developed, if any. If you do not do so, your case            developed, if any. If you do not do so, your case
                                        may be dismissed.                                            may be dismissed.
                                        Any extension of the 30-day deadline is granted              Any extension of the 30-day deadline is granted
                                        only for cause and is limited to a maximum of 15             only for cause and is limited to a maximum of 15
                                        days.                                                        days.

                                     0 I am not required to receive a briefing about              0 I am not required to receive a briefing about
                                        credit counseling because of:                                credit counseling because of:

                                        0 Incapacity.      I have a mental illness or a mental       0 Incapacity.      I have a mental illness or a mental
                                                           deficiency that makes me                                     deficiency that makes me
                                                           incapable of realizing or making                             incapable of realizing or making
                                                           rational decisions about finances.                           rational decisions about finances.
                                        0 Disability.      My physical disability causes me          0 Disability.      My physical disability causes me
                                                           to be unable to participate in a                             to be unable to participate in a
                                                           briefing in person, by phone, or                             briefing in person, by phone, or
                                                           through the internet, even after I                           through the internet, even after I
                                                           reasonably tried to do so.                                   reasonably tried to do so.
                                        0 Active duty. I am currently on active military             0 Active duty. I am currently on active military
                                                           duty in a military combat zone.                              duty in a military combat zone.
                                        If you believe you are not required to receive a             If you believe you are not required to receive a
                                        briefing about credit counseling, you must file a            briefing about credit counseling, you must file a
                                        motion for waiver of credit counseling with the court.       motion for waiver of credit counseling with the court.




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                                           IN THE UNITED STATES BANKRUPTCY COURT
                                               FOR THE DISTRICT OF MARYLAND



        In re:   party I                                               CaseNo.   #

                 party 2                                               Chapter   -       ri
                       Debtor(s)


                                   Title




1 of2                                                     ,}\,                       '


____}RW-l-=--7                                                        aut-----lCt!J:~~------- _
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 Debtor 1      DR. KEENAN KESTER COFIELD                    Case number (if                                       known), _ _ _ _ _ _ _ _ _ _ _ _ __
              First Name   MkidleName             Last Name




•§•I        4nswer These Questions for Reporting Purposes

                                        16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
 16. What kind of debts do                   as "incurred by an individual primarily for a personal, family, or household purpose."
    you have?
                                             D No. Go to line 16b.
                                             0 Yes. Go to line 17.
                                        16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                             money for a business or investment or through the operation of the business or investment.

                                             0 No. Go to line 16c.
                                             D Yes.Gotoline17.
                                        16c. State the type of debts you owe that are not consumer debts or business debts.
                                             cell phone, credit cards, etc.

11. Are you filing under
    Chapter 7?                          D No. I am not filing under Chapter 7. Go to line 18.
    Do you estimate that after          0 Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
    any exempt property is                       administrative expenses are paid that funds will be available to distribute to unsecured creditors?
    excluded and                                 0 No
    administrative expenses
    are paid that funds will be                  D Yes
    available for distribution
    to unsecured creditors?

1a. How many creditors do               0 1-49                                    0 1,000-5,000                            D 25,001-50,000
    you estimate that you               0 50-99                                   0 5,001-10,000                           0 50,001-100,000
    owe?                                0 100-199                                 0 10,001-25,000                          D More than 100,000
                                        0 200-999
19. How much do you                     0 $0-$50,000                              D $1,000,001-$10 million                 D $500,000,001-$1 billion
    estimate your assets to             0 $50,001-$100,000                        D $10,000,001-$50 million                D $1,000,000,001-$10 billion
    be worth?                           0 $100,001-$500,000                       D $50,000,001-$100 million               D $10,000,000,001-$50 billion
                                        D $500,001-$1 million                     D $100,000,001-$500 million              D More than $50 billion
20. How much do you                     0 $0-$50,000                              D $1,000,001-$10 million                 D $500,000,001-$1 billion
    estimate your liabilities           0 $50,001-$100,000                        D $10,000,001-$50 million                D $1,000,000,001-$10 billion
    to be?                              0 $100,001-$500,000                       □ $50,000,001-$100 million               □ $10,000,000,001-$50 billion
                                        D $500,001-$1 million                     D $100,000,001-$500 million              D More than $50 billion
■ @•◄ Sign Balow
                                        I have examined this petition, and I declare under penalty of perjury that the information provided is true and
 Foryou                                 correct.
                                        If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11, 12, or 13
                                        of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                        under Chapter 7.
                                        If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                        this document. I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                        I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                        I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                        with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                        18 U.S.C. §§ 154-, 1341, 1519, and 3571.,



                                                                                                           Signature of Debtor 2

                                           Executed on 09/21 /2022                                         Executed on _ _ _ _ _ __
                                                              MM   / DD   /YYYY                                           MM/ DD       /YYYY


  Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                       page 6
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Debtor 1     DR. KEENAN KESTER COFIELD                    Case number (dknown) _ _ _ _ _ _ _ _ _ _ _ __
             First Name   Middle Name             Last Name




                                        I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
For your attorney, if you are           to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one                      available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                        the notice required by 11 U.S.C. § 342(b) and, in a case in which§ 707(b)(4)(D) applies, certify that I have no
If you are not represented              knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page.
                                        X                                                                   Date         09/21/2022
                                                                                                                          MM     /   DD /YYYY




                                            DR. KEENAN KESTER COFIELD
                                            Printed name

                                            HENRIETTA LACKS, LLC AND WORLD CARES AND FOOD BANK
                                            Firm name

                                            1236 KENDRICK RD.
                                            Number      Street




                                           ROSEDALE              MD        21237
                                           -  --------------------
                                           City
                                                                   - - - - ZIP Code
                                                                 State




                                            Contact phone ( 443) 554-3715                                  Email address psychdoctor101@gmail.com




                                            Bar number                                                     State




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             DR. KEENAN              Case 22-15317
                                      KESTER           Doc 1 Filed 09/28/22
                                                 COFIELD                       Page 9 of 69
Debtor 1
             First Name
                        CaseMiddle
                              1:23-cv-01795-JKB
                                   Name     Last Name
                                                       Document 23-2 Filed 07/19/23 Page 10 of 70
                                                                         Case number (iflmown),_ _ _ _ _ _ _ _ _ _ _ _ __




For you if you are filing this       The law allows you, as an individual, to represent yourself in bankruptcy court, but you
bankruptcy without an                should understand that many people find it extremely difficult to represent
attorney                             themselves successfully. Because bankruptcy has long-term financial and legal
                                     consequences, you are strongly urged to hire a qualified attorney.
If you are represented by
an attorney, you do not              To be successful, you must correctly file and handle your bankruptcy case. The rules are very
need to file this page.              technical, and a mistake or inaction may affect your rights. For example, your case may be
                                     dismissed because you did not file a required document, pay a fee on time, attend a meeting or
                                     hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
                                     firm if your case is selected for audit. If that happens, you could lose your right to file another
                                     case, or you may lose protections, including the benefit of the automatic stay.

                                     You must list all your property and debts in the schedules that you are required to file with the
                                     court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
                                     in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
                                     property or properly claim it as exempt, you may not be able to keep the property. The judge can
                                     also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
                                     case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
                                     cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
                                     Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

                                     If you decide to file without an attorney, the court expects you to follow the rules as if you had
                                     hired an attorney. The court will not treat you differently because you are filing for yourself. To be
                                     successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
                                     Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
                                     be familiar with any state exemption laws that apply.

                                     Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
                                     consequences?

                                     □ No
                                     ii Yes
                                     Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
                                     inaccurate or incomplete, you could be fined or imprisoned?

                                     □ No
                                     ia Yes
                                     Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
                                     ii No
                                     0 Yes. Name of Person_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                              Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).



                                     By signing here, I acknowledge that I understand the risks involved in filing without an attorney. I
                                     have read and understood this notice, and I am aware that filing a bankruptcy case without an
                                     attorney may cause me to lose my rights or property if I do not properly handle the case.


                                 X
                                                                                                  Signature of Debtor 2

                                     Date            09/21/2022                                   Date
                                                     MM/ DD   /YYYY                                                MM/ DD /YYYY

                                     Contact phone { 443} 554-3 715                               Contact phone

                                     Cell phone      (443) 554-3715                               Cell phone

                                     Email address   psychdoctor101@gmail.com                     Email address



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,--------------------------- ----


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     Fill In tll1s 111for111at1on to 1dent1fy you, case


     Debtor 1            DR. KEENAN                    KESTER                   COFIELD
                         First Name                       Middle Name                     Last Name


     Debtor2
     (Spouse, if filing) Fi111t Name                      Middle Name                     Last Name


     United States Bankruptcy Court for the: District of Maryland
                                                                                                            E1                          21~2 SEP 28 PM 12: 2?
     Case number         22-15317                                                                                                                                                'D Check if this is an
                         (If known\
                                                                                                                                       (J.S. BANKrwp-1·c·• C··u"'. amended filing
                                                                                                                                                              1

                                                                                                                                       OJSTRICT OF ~1ARYi~\Nt.1
                                                                                                                                                   BALT!MOPr                      ..

   Official Form 106Sum
   Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                     12/15

   Be as complete and accurate as possible. H two married people are filing together, both are equally responsible for supplying correct
   information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
   your original forms, you must fill out a new Summary and check the box at the top of this page.


   •ifI             Summarize Your Assets

                                                                                                                                                                              Your assets
                                                                                                                                                                              Value of what you own

    1. Schedule AIB: Property (Official Form 106A/B)
                                                                                                                                                                                  $ ____          o_.o_o
       1a. Copy line 55, Total real estate, from Schedule A/8 ..........................................................................................................


        1b. Copy line 62, Total personal property, from Schedule A/8 ...............................................................................................              $ ____          o_.o_o

        1c. Copy line 63, Total of all property on Schedule AIB ....................................... _................................................................ .       $ ____          o_.o_o   I
   •§fj             Summarize Your Liabilities


                                                                                                                                                                               Your liabilities
                                                                                                                                                                               Amount you owe

    2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 1060)
                                                                                                                                                                                  $               0.00
       2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ........... .


    3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                                  $       59,336.00
       3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ........................................... .

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule EIF ...................................... .                                        59,336.00
                                                                                                                                                                              + $

                                                                                                                                             Your total liabilities               $       59.336.00        I
   •§fl             Summarize Your Income and Expenses


    4. Schedule I: Your Income (Official Form 1061)
                                                                                                                                                                                     1,103.00
                                                                                                                                                                                  $---
        Copy your combined monthly income from line 12 of Schedule 1..........................................................................................                         ---

    5. Schedule J: Your Expenses (Official Form 106J)
                                                                                                                                                                                       675.00
                                                                                                                                                                                  $ ____ __
       Copy your monthly expenses from line 22c of Schedule J ....................................................................................................




    Official Form 106Sum                                  Summary of Your Assets and Liabilities and Certain Statistical Information                                                    page 1 of 2
                                     Case 22-15317 Doc 1 Filed 09/28/22 Page 11 of 69
                             Case 1:23-cv-01795-JKB Document 23-2 Filed 07/19/23 Page 12 of 70
                    DR. KEENAN                       KESTER           COFIELD                         Case number (if known) 22-15317
   Debtor 1
                    First Name         Mktdle Name        Last Name                                                      ------------- -

                  Answer These Questions for Administrative and Statlstlcal Records

   6.   Are you filing for bankruptcy under Chapters 7, 11, or 13?

        0 No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
        0 Yes

   7. What kind of debt do you have?

        0 Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
              family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

        0 Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
              this form to the court with your other schedules.



   a. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
      Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                   $   - - - - -0.00
                                                                                                                                                           --



   9. Copy the following special categories of claims from Part 4, line 6 of Schedule EIF:


                                                                                                              Total clalm


         From Part 4 on Schedule EIF, copy the following:


                                                                                                              $                   0.00
        9a. Domestic support obligations (Copy line 6a.)


        9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                             $                   0.00

                                                                                                              $                   0.00
        9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)


                                                                                                              $                   0.00
        9d. Student loans. (Copy line 6f.)


        9e. Obligations arising out of a separation agreement or divorce that you did not report as           $                   0.00
            priority claims. (Copy line 69.)


        9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)             +$                     0.00


        9g. Total. Add lines 9a through 9f.                                                                   $                   o.oo   I




Official Form 106Sum             Summary of Your Assets and Liabilities and Certain Statistical Information                                         page 2 of 2
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 Ftll 111 tl11s 1nfor111at1011 to 1dent1fy your case and this f1l1ng



 Debtor 1            DR. KEENAN KESTER COFIELD
                     First Name                   Middle Name              Last Name


 Debtor2
 (Spouse, ~ filing) First Name                    Middle Name              Last Name


 United States Bankruptcy Court for the: District of Maryland
                                                                                        B           '-2 Sf P28 AM IQ: 45
 Case number
                                                                                                                                               0 Check if this is an
                                                        · eyANKnUPTCY CCURl                                                                       amended filing
' - - - - - - - - - - - - - - - - - - - - - - - ~ T R I C T OF MARYLAN(:
                                                                                                          BALTIM0RF            .
 Official Form 106A/B
 Schedule A/B: Property                                                                                                                                      12/15
 In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
 category where you think It fits best Be as complete and accurate as possible. If two married people are filing together, both are equally
 responsible for supplying correct information. If more space Is needed, attach a separate sheet to this form. On the top of any additional pages,
 write your name and case number (if known). Answer every question.

               Dascrlba Each Rasldanca, Building, Land, or Other Real Estate You Own or Have an lntarast In

 1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
     el No. Go to Part 2.
     0 Yes. Where is the property?
                                                                     What is the property? Check all that apply.       Do not deduct secured claims or exemptions. Put
                                                                     0 Single-family home                              the amount of any secured claims on Schedule D:
                                                                                                                       Creditors Who Have Claims Secured by Property.
       1.1.
              Street address, if available, or other description
                                                                     0 Duplex or multi-unit building
                                                                     0 Condominium or cooperative                      Current value of the      Current value of the
                                                                     0 Manufactured or mobile home                     entire property?          portion you own?
                                                                     0 Land                                            $_ _ _ _ _ __             $_ _ _ _ __
                                                                     0 Investment property
                                                                     0 Timeshare                                       Describe the nature of your ownership
              City                            State      ZIP Code                                                      Interest (such as fee simple, tenancy by
                                                                     0 Other _ _ _ _ _ _ _ _ _ _ _ __                  the entireties, or a life estate), if known.
                                                                     Who has an interest in the property? Check one.
                                                                     0 Debtor 1 only
              County                                                 0 Debtor 2 only
                                                                     0 Debtor 1 and Debtor 2 only                      0 Check If this is community property
                                                                                                                          (see instructions)
                                                                     0 At least one of the debtors and another
                                                                     Other information you wish to add about this item, such as local
                                                                     property identification number: _ _ _ _ _ _ _ _ _ _ _ _ __
    If you own or have more than one, list here:
                                                                    What is the property? Check all that apply.        Do not deduct secured claims or exemptions. Put
                                                                    0 Single-family home                               the amount of any secured claims on Schedule D:
                                                                                                                       Creditors Who Have Claims Secured by Property.
      1.2.                                                          0 Duplex or multi-unit building
              Street address, if available, or other description
                                                                    0 Condominium or cooperative                       Current value of the      Current value of the
                                                                    0 Manufactured or mobile home                      entire property?          portion you own?
                                                                    0 Land                                             $._ _ _ _ __              $_ _ _ _ _ _ _
                                                                    0 Investment property
                                                                                                                       Describe the nature of your ownership
              City                            State      ZIP Code
                                                                    0 Timeshare                                        Interest (such as fee simple, tenancy by
                                                                    0 Other _ _ _ _ _ _ _ _ _ _ _ __                   the entireties, or a life estate), if known.
                                                                    Who has an interest In the property? Check one.
                                                                    0 Debtor 1 only
              County                                                0 Debtor 2 only
                                                                    0 Debtor 1 and Debtor 2 only                       0 Check if this is community property
                                                                    0 At least one of the debtors and another             (see instructions)

                                                                    Other information you wish to add about this item, such as local
                                                                    property identification number: _ _ _ _ _ _ _ _ _ _ _ _ __


 Official Form 106A/B                                                Schedule A/B: Property                                                             page 1
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                DR. KEENAN KESTER COFIELD                         Document 23-2 FiledCase
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                                                                                                           ____ 14_of
                                                                                                                   __ 70
                                                                                                                       _ _ _ _ _ _ __
                    First Name   Middle Name      Last Name




    3.3.    Make:                                             Who has an interest In the property? Check one.   Do not deduct secured claims or exemptions. Put
                                                                                                                the amount of any secured claims on Schedule D:
            Model:                                            0 Debtor 1 only                                   Creditors Who Have Claims Secured by Property.
                                                              0 Debtor 2 only
            Year:                                                                                               Current value of the      Current value of the
                                                              0 Debtor 1 and Debtor 2 only
            Approximate mileage:                                                                                entire property?          portion you own?
                                                              0 At least one of the debtors and another
            Other information:
                                                                                                                $_ _ _ _ _ __             $_ _ _ _ _ __
                                                              0 Check If this Is community property (see
                                                                  instructions)


    3.4.    Make:                                             Who has an interest in the property? Check one.   Do not deduct secured claims or exemptions. Put
                                                                                                                the amount of any secured claims on Schedule D:
            Model:                                            0 Debtor 1 only                                   Creditors Who Have Claims Secured by Property.
                                                              0 Debtor 2 only
            Year:                                                                                               Current value of the      Current value of the
                                                              0 Debtor 1 and Debtor 2 only
            Approximate mileage:                                                                                entire property?          portion you own?
                                                              0 At least one of the debtors and another
            Other information:
                                                                                                                $._ _ _ _ _ __            $_ _ _ _ _ __
                                                              0 Check if this Is community property (see
                                                                 instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
   0 No
   0 Yes

   4.1.     Make:                                             Who has an interest in the property? Check one.   Do not deduct secured claims or exemptions. Put
                                                                                                                the amount of any secured claims on Schedule D:
            Model:                                            0 Debtor 1 only                                   Creditors Who Have Claims Secured by Property.
                                                              0 Debtor 2 only
            Year:
                                                              0 Debtor 1 and Debtor 2 only                      Current value of the      Current value of the
            Other information:                                0 At least one of the debtors and another         entire property?          portion you own?

                                                              0 Check if this is community property (see        $_ _ _ _ _ __             $_ _ _ _ _ _ _
                                                                 instructions)



   If you own or have more than one, list here:

   4.2.     Make:                                             Who has an interest in the property? Check one.   Do not deduct secured claims or exemptions. Put
                                                                                                                the amount of any secured claims on Schedule D:
            Model:                                            0 Debtor 1 only                                   Creditors Who Have Claims Secured by Property.
                                                              0 Debtor 2 only
            Year:                                                                                               Current value of the     Current value of the
                                                              0 Debtor 1 and Debtor 2 only                      entire property?
            Other information:
                                                                                                                                         portion you own?
                                                              0 At least one of the debtors and another
                                                                                                                $_ _ _ _ _ __            $_ _ _ _ _ __
                                                              0 Check if this is community property (see
                                                                 instructions)




Official Form 106A/B                                          Schedule A/B: Property                                                             page 3
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              DR. KEENAN KESTER COFIELD                          Document 23-2 FiledCase
                                                                                      07/19/23          Page
                                                                                         number (ifknown)c__   15_of
                                                                                                             ___  __ 70_ _ _ _ _ _ __
                First Name      Middle Name       Last Name




                                                              Who has an interest In the property? Check one.   Do not deduct secured claims or exemptions. Put
   3.3.    Make:
                                                                                                                the amount of any secured claims on Schedule D:
           Model:
                                                              D Debtor 1 only                                   Creditors Who Have Claims Secured by Property.
                                                              0 Debtor 2 only
           Year:                                                                                                Current value of the      Current value of the
                                                              0 Debtor 1 and Debtor 2 only                      entire property?          portion you own?
           Approximate mileage:                               0 At least one of the debtors and another
           Other information:
                                                                                                                $._ _ _ _ __              $ _ _ _ _ _ _ __
                                                              0 Check If this is community property (see
                                                                 instructions)


                                                              Who has an interest in the property? Check one.   Do not deduct secured claims or exemptions. Put
   3.4.    Make:
                                                                                                                the amount of any secured claims on Schedule D:
           Model:
                                                              0 Debtor 1 only                                   Creditors Who Have Claims Secured by Property.
                                                              0 Debtor 2 only
           Year:                                                                                                Current value of the      Current value of the
                                                              0 Debtor 1 and Debtor 2 only                      entire property?          portion you own?
           Approximate mileage:                               0 At least one of the debtors and another
           Other information:
                                                                                                                $._ _ _ _ _ __            $._ _ _ _ _ __
                                                              0 Check if this is community property (see
                                                                 instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

   0 No
   0 Yes

                                                              Who has an interest In the property? Check one.   Do not deduct secured claims or exemptions. Put
   4.1.    Make:
                                                                                                                the amount of any secured claims on Schedule D:
           Model:
                                                              D Debtor 1 only                                   Creditors Who Have Claims Secured by Property.
                                                              0 Debtor 2 only
           Year:
                                                              0 Debtor 1 and Debtor 2 only                      Current value of the      Current value of the
           Other information:                                 0 At least one of the debtors and another         entire property?          portion you own?


                                                              0 Check If this is community property (see        $_ _ _ _ _ __             $._ _ _ _ _ _ __
                                                                 instructions)



   If you own or have more than one, list here:

                                                              Who has an Interest in the property? Check one.   Do not deduct secured claims or exemptions. Put
   4.2.    Make:
                                                                                                                the amount of any secured claims on Schedule D:
           Model:
                                                              0 Debtor 1 only                                   Creditors Who Have Claims Secured by Property.
                                                              0 Debtor 2 only
           Year:                                                                                                Current value of the      Current value of the
                                                              0 Debtor 1 and Debtor 2 only                      entire property?          portion you own?
           Other information:                                 0 At least one of the debtors and another
                                                                                                                $ _ _ _ _ __             $ _ _ _ _ _ _ __
                                                              0 Check if this is community property (see
                                                                 instructions)




Official Form 106A/B                                          Schedule A/B: Property                                                             page 3
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                                                                                                                                          __ of_70
                                                                                                                                                _ _ _ _ _ _ __
                      First Name            Middle Name                  Last Name




                 Describe Your Personal and Household Items

                                                                                                                                                                                                  Current value of the
Do you own or have any legal or equitable interest in any of the following items?                                                                                                                 portion you own?
                                                                                                                                                                                                  Do not deduct secured claims
                                                                                                                                                                                                  or exemptions.

6. Household goods and furnishings
     Examples: Major appliances, furniture, linens, china, kitchenware
     (a No
     D Yes. Describe ........ .                                                                                                                                                                    $_ _ _ _ _ _ __


7. Electronics
     Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
               collections; electronic devices including cell phones, cameras, media players, games
     0 No
     i2I Yes. Describe .......... CELL PHONE ANDROID                                                                                                                                               $
                                                                                                                                                                                                    - - - - - 200.00
                                                                                                                                                                                                              ---
a. Collectibles of value
     Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
               stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
     i2I No
     D Yes. Describe ......... .                                                                                                                                                                   $_ _ _ _ _ _ __


9. Equipment for sports and hobbles
     Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
               and kayaks; carpentry tools; musical instruments
     i2I No
     D Yes. Describe ......... .                                                                                                                                                                   $_ _ _ _ _ _ _ __


1o. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
     i2I No
     D Yes. Describe ......... .                                                                                                                                                                   $_ _ _ _ _ _ __


11.Clothes
     Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
     0 No
     i2I Yes. Describe .......... CLOTHES                                                                                                                                                          $
                                                                                                                                                                                                    - - - - - 100.00
                                                                                                                                                                                                              ---

12.Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
               gold, silver
     i2I No
     D Yes. Describe .......... .                                                                                                                                                                  $_ _ _ _ _ _ __

13. Non-farm animals
     Examples: Dogs, cats, birds, horses

     i2I No
     D Yes. Describe .......... .                                                                                                                                                                  $_ _ _ _ _ _ __


14.Any other personal and household items you did not already list, including any health aids you did not list

     i2I No
     D Yes. Give specific                                                                                                                                                                          $_ _ _ _ _ _ __
          information .............. .

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
    for Part 3. Write that number here ....................................................................................................................................................   +

 Official Form 106A/B                                                                   Schedule A/B: Property                                                                                                 page 4
                                                       Case 22-15317                                Doc 1 Filed 09/28/22 Page 16 of 69
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                    DR. KEENAN KESTER COFIELD                                                       Document 23-2 FiledCase
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                      First Name              Mkidle Name                     Last Name




•Mil            Describe Your Flnanclal Assets

Do you own or have any legal or equitable interest in any of the following?                                                                                                                                 Current value of the
                                                                                                                                                                                                            portion you own?
                                                                                                                                                                                                            Do not deduct secured claims
                                                                                                                                                                                                            or exemptions.

16.Cash
   ExBmples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

   wt No
   □ Yes ................................................................................................................................................................   Cash: .......................    $_ _ _ _ _ _ __



17. Deposits of money
   Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
             and other similar institutions. If you have multiple accounts with the same institution, list each.

   wt No
   □ Yes.....................                                                                    Institution name:


                                              17.1. Checking account:                            _________________________                                                                                   $_ _ _ _ _ _ _ __

                                              17.2. Checking account:                            _________________________                                                                                   $_ _ _ _ _ _ _ __

                                              17.3. Savings account:                             _________________________                                                                                   $_ _ _ _ _ _ _ __

                                              17.4. Savings account:                             _________________________                                                                                   $_ _ _ _ _ _ _ _ _

                                              17.5. Certificates of deposit:                     _________________________                                                                                   $_ _ _ _ _ _ _ __

                                              17.6. Other financial account:                     _________________________                                                                                   $_ _ _ _ _ _ _ __

                                              17.7. Other financial account:                     _________________________                                                                                   $
                                                                                                                                                                                                                 ---------
                                              17.8. Other financial account:                     _________________________                                                                                   $_ _ _ _ _ _ _ __

                                              17.9. Other financial account:                     _________________________                                                                                   $
                                                                                                                                                                                                                 ---------


18. Bonds, mutual funds, or publicly traded stocks
  Examples: Bond funds, investment accounts with brokerage firms, money market accounts

   0 No
   □ Yes ................ .                   Institution or issuer name:

                                                                                                                                                                                                             $_ _ _ _ _ _ _ _ _
                                                                                                                                                                                                             $_ _ _ _ _ _ __
                                                                                                                                                                                                             $_ _ _ _ _ _ __




19. Non-publicly traded stock and interests in Incorporated and unincorporated businesses, including an interest in
   an LLC, partnership, and joint venture

   0 No                                       Name of entity:                                                                                                               % of ownership:
   □ Yes.Give specific                                                                                                                                                      0%               %               $
        information about
        them ........................ .                                                                                                                                     0%               %               $
                                                                                                                                                                            0%               %               $




Official Form 106A/B                                                                           Schedule A/8: Property                                                                                                    page 5
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                 DR. KEENAN KESTER COFIELD   Document 23-2 FiledCase
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                                                                                              __ 70_ _ _ _ _ _ __
                   First Name          Middle Name               LaslName




20. Government and corporate bonds and other negotiable and non-negotiable instruments
   Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
   Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

   0 No
   □ Yes.Give specific                 Issuer name:
       information about                                                                                                           $._ _ _ _ _ _ __
       them ...................... .
                                                                                                                                   $_ _ _ _ _ __
                                                                                                                                   $_ _ _ _ _ _ _ _



21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401 (k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

   0 No
   □ Yes. List each
        account separately.            Type of account:            Institution name:

                                       401(k) or similar plan:     ___________________________                                     $_ _ _ _ _ _ _ __

                                       Pension plan:               ___________________________                                     $_ _ _ _ _ _ _ __

                                       IRA:                        _______________________                                         $_ _ _ _ _ _ _

                                       Retirement account:         ___________________________                                     $_ _ _ _ _ _ _ _ _

                                       Keogh:                      _______________________                                         $_ _ _ _ _ __

                                       Additional account:         ____________________________                                    $_ _ _ _ _ _ _ __

                                       Additional account:         ___________________________                                     $_ _ _ _ _ _ _ __




22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

   wl No
   □ Yes ......................... .                         Institution name or individual:

                                       Electric:                                                                                   $_ _ _ _ _ _ _ __

                                       Gas:                                                                                        $_ _ _ _ _ _ _ __

                                       Heating oil:                                                                                $_ _ _ _ _ _ __
                                       Security deposit on rental unit: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __           $_ _ _ _ _ _ _ _

                                       Prepaid rent:                                                                               $_ _ _ _ _ _ _ __

                                       Telephone:                                                                                  $_ _ _ _ _ _ __

                                       Water:                                                                                      $_ _ _ _ _ _ __

                                       Rented furniture:                                                                           $_ _ _ _ _ _ _ __
                                       Other:                                                                                      $_ _ _ _ _ _ _ _



23.Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

   0 No
   □ Yes..........................     Issuer name and description:
                                                                                                                                   $ _ _ _ _ _ _ __
                                                                                                                                   $_ _ _ _ _ __
                                                                                                                                   $_ _ _ _ _ _ _ __



Official Form 106A/B                                                        Schedule A/8: Property                                         page 6
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                                                                                                                               _ _ _ _ _ _ __
                    First Name          Middle Name           Last Name




24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1 ), 529A(b), and 529(b)(1 ).

    0 No
    0 Yes ····································   institution name and description. Separately file the records of any interests.11 U.S.C. § 521 (c):

                                                                                                                                                       $_ _ _ _ _ __

                                                                                                                                                       $_ _ _ _ _ __
                                                                                                                                                       $_ _ _ _ _ _ __


25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
    exercisable for your benefit

   0 No
   0 Yes. Give specific
         information about them ....                                                                                                                   $_ _ _ _ _ __


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
   Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

   0 No
   0 Yes. Give specific
         information about them ....                                                                                                                   $_ _ _ _ _ __


27. Licenses, franchises, and other general Intangibles
   Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

   0 No
   0 Yes. Give specific
        information about them ....                                                                                                                    $_ _ _ _ _ __


Money or property owed to you?                                                                                                                         Current value of the
                                                                                                                                                       portion you own?
                                                                                                                                                       Do not deduct secured
                                                                                                                                                       daims or exemptions.

28. Tax refunds owed to you

   0 No
   0 Yes. Give specific information                                                                                          Federal:              $_ _ _ _ _ _ _
                about them, including whether
                you already filed the returns                                                                                State:                $_ _ _ _ _ _ _
                and the tax years ....................... .                                                                                        $_ _ _ _ _ __
                                                                                                                             Local:



29. Family support
   Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

   0 No
   D Yes. Give specific information ............. .
                                                                                                                            Alimony:                   $_ _ _ _ _ __
                                                                                                                            Maintenance:               $_ _ _ _ _ _ _
                                                                                                                            Support:                   $_ _ _ _ _ _ _
                                                                                                                            Divorce settlement:        $_ _ _ _ _ __
                                                                                                                            Property settlement:       $_ _ _ _ _ _ _

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers' compensation,
              Social Security benefits; unpaid loans you made to someone else

   □ No
   0 Yes. Give specific information ............... SSA
                                                                                                                                                                  852.00
                                                                                                                                                       $_ _ _ _ _ _ _ __




Official Form 106A/B                                                      Schedule A/B: Property                                                                 page 7
 Debtor 1      DR. KEENAN KESTER COFIELD                                                                 Case number (iliu-n),_ _ _ _ _ _ _ _ _ _ _ _ __
                 First Name      Case 22-15317
                                         Last Name
                                  Middle Name      Doc 1 Filed 09/28/22 Page 19 of 69
                         Case 1:23-cv-01795-JKB Document 23-2 Filed 07/19/23 Page 20 of 70

31. Interests in insurance policies
    Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
    0 No
    0 Yes. Name the insurance company                   Company name:                                       Beneficiary:                             Surrender or refund value:
              of each policy and list its value ....
                                                                                                                                                     $_ _ _ _ _ _ _ _
                                                                                                                                                     $_ _ _ _ _ _ __
                                                                                                                                                     $_ _ _ _ _ __

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
    property because someone has died.
    ia No
    0 Yes. Give specific information ............ ..

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
    0 No
    ia Yes. Describe each claim..................... PENDING LAWSUITS-ACCIDENTS UNKNOWN

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
    to set off claims
    ia No
    0 Yes. Describe each claim ................... ..



35. Any financial assets you did not already list

    ia No
    0 Yes. Give specific information ........... .                                                                                                   $_ _ _ _ _ _ __




              Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
   ia No. Go to Part 6.
   0 Yes. Go to line 38.
                                                                                                                                                   Current value of the
                                                                                                                                                   portion you own?
                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                   or exemptions.

38. Accounts receivable or commissions you already earned
   ia No
   0 Yes. Describe .......
                                                                                                                                                   $_ _ _ _ _ _ _ _ _

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
   ia No
   D Yes. Describe .......                                                                                                                         $. _ _ _ _ _ _ _ __




Official Form 106A/B                                             Schedule A/B: Property                                                                         page 8
                                                  Case 22-15317                            Doc 1 Filed 09/28/22 Page 20 of 69
 Debtor 1
                       Case 1:23-cv-01795-JKB
                  DR. KEENAN KESTER COFIELD                                                Document 23-2 FiledCase
                                                                                                                07/19/23
                                                                                                                   number (if known),Page
                                                                                                                                     _ _ _ 21
                                                                                                                                           __ of
                                                                                                                                               _70
                                                                                                                                                 _ _ _ _ _ _ _ __
                    First Name            Middle Name                  Last Name




40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

   1B No
   D Yes. Describe ...... .                                                                                                                                                                       $_ _ _ _ _ _ _ __



41. Inventory
   fal No
   D Yes. Describe .......                                                                                                                                                                        $ _ _ _ _ _ _ _ __



42. Interests in partnerships or joint ventures

   ii No
   D Yes. Describe.......               Name of entity:                                                                                                              % of ownership:
                                                                                                                                                                     ___%                         $_ _ _ _ _ _ _ __
                                                                                                                                                                     _ _ _%                       $_ _ _ _ _ _ _ __
                                                                                                                                                                     _ _ _%                       $_ _ _ _ _ _ _ _ _


43. Customer lists, mailing lists, or other compilations
   fal No
   D Yes. Do your lists include personally Identifiable information (as defined in 11 U.S.C. § 101(41A))?
          D No
          D Yes. Describe........ .                                                                                                                                                                $_ _ _ _ _ _ _ __


44. Any business-related property you did not already list
   laj No
   D Yes. Give specific                                                                                                                                                                            $
        information ........ .
                                                                                                                                                                                                   $
                                                                                                                                                                                                   $
                                                                                                                                                                                                   $
                                                                                                                                                                                                   $
                                                                                                                                                                                                   $

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
   for Part 5. Write that number here ....................................................................................................................................................   -+   I$                     0.001

                 Describe Any Fann- and Commercial Fishing-Related Property You Own or Have an Interest In.
                 If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm• or commercial fishing-related property?
   ii No. Go to Part 7.
   D Yes. Go to line 47.
                                                                                                                                                                                                  Current value of the
                                                                                                                                                                                                  portion you own?
                                                                                                                                                                                                  Do not deduct secured claims
                                                                                                                                                                                                  or exemptions.
47. Farm animals
   Examples: Livestock, poultry, farm-raised fish
   !iii No
   D Yes .........................:
                                                                                                                                                                                                       $_ _ _ _ _ _ __




Official Form 106A/B                                                                  Schedule A/B: Property                                                                                                   page 9
                                                      Case 22-15317                             Doc 1 Filed 09/28/22 Page 21 of 69
  Debtor 1                 Case 1:23-cv-01795-JKB
                      DR. KEENAN KESTER COFIELD                                                 Document 23-2 FiledCase
                                                                                                                    07/19/23
                                                                                                                        number (ifkoown),Page
                                                                                                                                         _ _ _22
                                                                                                                                              __ of_70
                                                                                                                                                     _ _ _ _ _ _ __
                        First Name            Mtddle Name                   Last Name




 48. Crops-either growing or harvested

      0 No
      D Yes. Give specific
            information ............ .                                                                                                                                                                     $_ _ _ _ _ _ __

 49. Fann and fishing equipment, implements, machinery, fixtures, and tools of trade
      ii No
      D Yes ..........................
                                                                                                                                                                                                           $_ _ _ _ _ _ __

 50. Fann and fishing supplies, chemicals, and feed

      0 No
      D Yes ......................... .
                                                                                                                                                                                                           $_ _ _ _ _ _ __

 51.Any farm- and commercial fishing-related property you did not already list
      0 No
      D Yes. Give specific
            information ............ .                                                                                                                                                                     $_ _ _ _ _ _ __


 52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached                                                                                                     0._00_
                                                                                                                                                                                                           $_ _ _ _ _
     for Part 6. Write that number here ....................................................................................................................................................      -+

                    Describe All Property You Own or Have an Interest in That You Did Not List Above

 53. Do you have other property of any kind you did not already list?
      Examples: Season tickets, country club membership

      ii No                                                                                                                                                                                                 $_ _ _ _ _ __
      D Yes. Give specific
            information ............ .                                                                                                                                                                      $_ _ _ _ _ __
                                                                                                                                                                                                            $_ _ _ _ _ _ _



 54. Add the dollar value of all of your entries from Part 7. Write that number here .................................................................                                           -+         $
                                                                                                                                                                                                            -------
                                                                                                                                                                                                                       0.00



• §j:MList the Totals of Each Part of this Form
 55. Part 1: Total real estate, line 2 .............................................................................................................................................................. ,+   S_____O_.O_O_

 56. Part 2: Total vehicles, line 5                                                                                $                        0.00

 57. Part 3: Total personal and household items, line 15                                                           $                        0.00

 58. Part 4: Total financial assets, line 36                                                                       $                        0.00

 59. Part 5: Total business-related property, line 45                                                              $                        0.00

 60. Part 6: Total fann- and fishing-related property, line 52                                                     $                        0.00

 61. Part 7: Total other property not listed, line 54                                                           +$                          0.00

 62. Total personal property. Add lines 56 through 61 .....................                                        $                        O.OO Copy personal property total -+ +$                                    0.00


 63. Total of all property on Schedule A/8. Add line 55 + line 62..........................................................................................                                                $_ _ _ _   o_.o_o


  Official Form 106A/B                                                                     Schedule A/8: Property                                                                                                 page 10
                                   Case 22-15317                  Doc 1 Filed 09/28/22 Page 22 of 69
                        Case
 Fill 111 this 111for111at1011    1:23-cv-01795-JKB
                               to 1dent1fy your case.             Document 23-2 Filed 07/19/23 Page 23 of 70
 Debtor 1           OR. KEENAN         KESTER                   COFIELD
                     First Name             Middle Name               Last Name


 Debtor 2
 (Spouse, if filing) Fir.It Name            Middle Name               Last Name


 United States Bankruptcy Court for the: District of Maryland

 Case number                                                                                                                           D Check if this is an
  (If known)
                                                                                                                                          amended filing



Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                        04122

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions-such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds-may be unlimited in dollar amount. However, If you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


                 Identify the Property You Claim as Exempt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
      0 You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
      0 You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule AIB that you claim as exempt, fill in the information below.


       Brief description of the property and line on      Current value of the    Amount of the exemption you claim        Specific laws that allow exemption
       Schedule AIB that lists this property              portion you own
                                                          Copy the value from     Check only one box for each exemption.
                                                          Schedule AIB

      Brief                                               $_ _ _ _ _ _ _          0$ _ _ __
      description:
      Line from
                                                                                  0 100% of fair market value, up to
                                                                                     any applicable statutory limit
      Schedule AIB:

      Brief
      description:
                                                          $_ _ _ _ _ __           0$ _ _ __
      Line from
                                                                                  0 100% of fair market value, up to
                                                                                     any applicable statutory limit
      Schedule A/B:

      Brief                                               $_ _ _ _ _ _ _          0$ _ _ __
      description:
      Line from
                                                                                  0 100% of fair market value, up to
      Schedule AIB:                                                                  any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $189,050?
     (Subject to adjustment on 4/01125 and every 3 years after that for cases filed on or after the date of adjustment.)

     if No
     0 Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
       0 No
       0 Yes

Official Form 106C                                        SdMldute C: The Property You Claim as Exempt                                          page 1 of_
Debtor 1      DR. KEENAN              KESTER          COFIELD                             Case number (ffl<nown.,__ _ _ _ _ _ _ _ _ _ _ _ __
              FtrstName      Case 22-15317
                            Middle Name
                                     Last Name Doc 1 Filed 09/28/22 Page 23 of 69
                     Case 1:23-cv-01795-JKB Document 23-2 Filed 07/19/23 Page 24 of 70

■ate Additional Page
      Brief description of the property and line    Current value of the   Amount of the exemption you claim       Specific laws that allow exemption
      on Schedule AIB that lists this property      portion you own
                                                    Copy the value from    Check only one box for each exemption
                                                    Schedule AIB

     Brief
     description:
                                                    $._ _ _ _ _ __         0$ _ _ __
     Line from
                                                                           0 100% of fair market value, up to
     Schedule A/B:                                                            any applicable statutory limit

     Brief                                          $._ _ _ _ _ __         0$ _ _ __
     description:
     Line from
                                                                           0 100% of fair market value, up to
     Schedule AIB:                                                            any applicable statutory limit


     Brief
     description:
                                                    $._ _ _ _ _ __         0$ _ _ __
     Line from
                                                                           0 100% of fair market value, up to
     Schedule A/B:                                                            any applicable statutory limit


     Brief
     description:
                                                    $_ _ _ _ _ _ _         0$ _ _ __
     Line from
                                                                           0 100% of fair market value, up to
     Schedule AIB:                                                            any applicable statutory limit

     Brief
     description:
                                                    $._ _ _ _ _ __         0$ _ _ __
     Line from
                                                                           0 100% of fair market value, up to
     Schedule AIB:                                                            any applicable statutory limit


     Brief                                          $._ _ _ _ _ __         0$ _ _ __
     description:
     Line from
                                                                           0 100% of fair market value, up to
     Schedule AIB:                                                            any applicable statutory limit


     Brief
     description:
                                                    $._ _ _ _ _ __         0$ _ _ __
     line from
                                                                           0 100% of fair market value, up to
     Schedule AIB:                                                            any applicable statutory limit

     Brief
     description:
                                                    $_ _ _ _ _ __          0$ _ _ __
     Line from
                                                                           0 100% of fair market value, up to
     Schedule AIB:                                                            any applicable statutory limit


     Brief
     description:
                                                    $._ _ _ _ _ __         0$ _ _ __
     Line from
                                                                           0 100% of fair market value, up to
     Schedule AIB:                                                            any applicable statutory limit


     Brief
     description:
                                                    $._ _ _ _ _ __         0$ _ _ __
     Line from
                                                                           0 100% of fair market value, up to
     Schedule AIB:                                                            any applicable statutory limit

     Brief
     description:
                                                    $._ _ _ _ _ __         0$ _ _ __
     Line from
                                                                           0 100% of fair market value, up to
     Schedule AIB:                                                            any applicable statutory limit


     Brief
     description:
                                                    $_ _ _ _ _ _ _         0$ _ _ __
     Line from
                                                                           0 100% of fair market value, up to
     Schedule AIB:                                                            any applicable statutory limit



Official Form 106C                                 Schedule C: The Property You Claim as Exempt                                    page.L_ot_
    Debtor 1
                          First Name
                                            Case 22-15317 Doc 1 Filed 09/28/22 Page 24 of 69
                                    Case 1:23-cv-01795-JKB Document 23-2 Filed 07/19/23 Page 25 of 70
    Fill 111 th,s 111for 111c1t1011 to 1dent1fy you, case

                        DR. KEENAN                            KESTER
                                                              Middle Name
                                                                                 COFIELD
                                                                                          Last Name
                                                                                                                                                                                                •
    Debtor 2
    (Spouse, if filing) First Name                            Mlddte Name                 Last Name


    United States Bankruptcy Court for the: District of Maryland

    Case number
     (If known)                                                                                                                                                      0 Check if this is an
                                                                                                                                                                         amended filing


    Official Form 106D
    Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                            12/15
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
    additional pages, write your name and case number (if known).


   1. Do any creditors have claims secured by your property?
        1B No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
        D Yes. Fill in all of the information below.

•@•I                 List All Secured Claims
                                                                                                          Column A                                           ColumnB                   Column C
  2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately Amount of claim                                    Value of collateral       Unsecured
       for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2.                          Do not deduct the      that aupports this        portion
       As much as possible, list the claims in alphabetical order according to the creditor's name.                                   value of collateral.   claim                     If any

                                                                       Describe the property that secures the claim:                  $                      $                     $
        Creditor's Name


        Number             Street
                                                                       As of the date you file, the claim is: Check all that apply.
                                                                       □ Contingent
                                                                       □ Unliquidated
        City                            State    ZIP Code
                                                                       □ Disputed
     Who owes the debt? Check one.                                     Nature of lien. Check all that apply.
      □ Debtor 1 only                                                  □ An agreement you made (such as mortgage or secured
      □ Debtor 2 only                                                       car loan)
      □ Debtor 1 and Debtor 2 only                                     □ Statutory lien (such as tax lien, mechanic's lien)
      □ At least one of the debtors and another                        □ Judgment lien from a lawsuit
                                                                       □ Other (including a right to offset) _ _ _ _ _ _ __
      □ Check if this claim relates to a
        community debt
     Date debt was Incurred              ..............           ------ Last4digltsofaccount.number _           ___________ _
f ,, ,;1--·    ,... ··-·-· -·---
~                                                                      Describe the property that secures the claim:                  $_ _ _ _ _ __          $_ _ _ _ _ _ _ $_ _ _ __

        Creditor's Name


        Number             Street

                                                                       As of the date you file, the claim is: Check all that apply.
                                                                       □ Contingent
                                                                       □ Unliquidated
        City                            State    ZIP Code
                                                                       □ Disputed
     Who owes the debt? Check one.                                     Nature of lien. Check all that apply.
      □ Debtor 1 only                                                  □ An agreement you made (such as mortgage or secured
      □ Debtor 2 only                                                    car loan)
      □ Debtor 1 and Debtor 2 only                                     □ Statutory lien (such as tax lien, mechanic's lien)
      □ At least one of the debtors and another                        □ Judgment lien from a lawsuit
                                                                       □ Other (including a right to offset) _ _ _ _ _ _ __
     □ Check if this claim relates to a
       community debt

                                                                                                                                      p---- ----~-------T- -------- ----•·-•·--------- . - - - - ·-
       Date debt was incurred ....,.,..==='"'=-="   Last 4 digits of account number _
                                                                  0
                                                                                      __ _
  . ,,. - .Add the dollar value ~f you;entries in Column A on thl;page. Write that number here: ___


    Official Form 106D                                            Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 o f _



                                                          -   -   --------------                      - - - - - - - - - - - - - - ------------------ -
   Debtor 1        DR. KEENAN                  CaseKESTER
                                                     22-15317     COFIELD
                                                                     Doc 1 Filed 09/28/22Case number
                                                                                              Page(if known)
                                                                                                      25 _   of_69
                                                                                                                 _ _ _ _ _ _ _ _ _ _ _ __
                     First Name    CaseMiddJe
                                         1:23-cv-01795-JKB
                                              Name      Last Name    Document 23-2 Filed 07/19/23 Page 26 of 70
                                                                                                                            Column A               Columns                   ColumnC
                 Additional Page
                                                                                                                            Amount of claim        Value of collateral       Unsecured
                 After listing any entries on this page, number them beginning with 2.3, followed                           Do not deduct the      that supports this        portion
                 by 2.4, and so forth.                                                                                      value of collateral.   claim                     If any

                                                             Describe the property that secures the claim:                  $                      $                     $
        Creditor's Name


        Number            Street


                                                             As of the date you file, the claim is: Check all that apply.
                                                             0   Contingent
        City                             State   ZIP Code    0   Unliquidated
                                                             0   Disputed

    Who owes the debt? Check one.                            Nature of lien. Check all that apply.
    D Debtor 1 only                                          0   An agreement you made (such as mortgage or secured
    D Debtor 2 only                                              car loan)
    0 Debtor 1 and Debtor 2 only                             0   Statutory lien (such as tax lien, mechanic's lien)

    0 At least one of the debtors and another                0   Judgment lien from a lawsuit
                                                             0   Other (including a right to offset) _ _ _ _ _ _ __
    0     Check If this claim relates to a
          community debt

    Date debt was incurred _ _ _ __                          Last 4 digits of account number _        __ _

                                                                                                                            $_ _ _ _ _ __           $_ _ _ _ _ _ _ $_ _ _ __
                                                             Describe the property that secures the claim:
        Creditor's Name


        Number            Street

                                                             As of the date you file, the claim is: Check all that apply.
                                                             0   Contingent
                                                             0   Unliquidated
        City                             State    ZIP Code
                                                             0   Disputed
    Who owes the debt? Check one.                            Nature of lien. Check all that apply.
    D Debtor 1 only                                          0   An agreement you made (such as mortgage or secured
    D Debtor 2 only                                              car loan)
    0 Debtor 1 and Debtor 2 only                             0   Statutorv lien (such as tax lien, mechanic's lien)
    0 At least one of the debtors and another                0   Judgment lien from a lawsuit
                                                             0   Other (including a right to offset) _ _ _ _ _ _ __
     D Check if this claim relates to a
           community debt

     Date debt was Incurred _ _ _ __                         Last 4 digits of account number _         __ _

  □----                                                                                                                                             $_ _ _ _ _ _ $_ _ _ __
                                                             Describe the property that secures the claim:                  $_ _ _ _ _ __
        ~C_red_i_to-r's_N_a_m_e_ _ _ _ _ _ _ _ _ __



        Number            Street


                                                             As of the date you file, the claim is: Check all that apply.
                                                             0   Contingent
        City                             State    ZIP Code   0   Unliquidated
                                                             0   Disputed

     Who owes the debt? Check one.                           Nature of llen. Check all that apply.
     D Debtor 1 only                                         0   An agreement you made (such as mortgage or secured
     0 Debtor 2 only                                             car loan)
     D Debtor 1 and Debtor 2 only                            0   Statutorv lien (such as tax lien, mechanic's lien)

     0 At least one of the debtors and another               0   Judgment lien from a lawsuit
                                                             0   Other (including a right to offset) _ _ _ _ _ _ __
     D Check if this claim relates to a
           community debt
     Date debt was incurred _ _ _ _ _                        Last 4 digits of account number _

               Add the dollar value of your entries in Column A on this page. Write that number here:
               lf this is the last page of your form, add the dollar value totals from all pages.
               Write that number here:
                                                                                                       __ _

                                                                                                                            E--
                                                                                                                            $

    Official Form 106D                           Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page_of_



--------------------------------------------------------------------                                                                                                                     -   .
                               Case 22-15317 Doc 1 Filed 09/28/22 Page 26 of 69
                       Case 1:23-cv-01795-JKB Document 23-2 Filed 07/19/23 Page 27 of 70
Debtor 1       DR. KEENAN                  KESTER            COFIELD                           Case number (if known),_ _ _ _ _ _ _ _ _ _ _ _ _ __
               First Name    Middle Name         Last Name


•¥JfM          List Others to Ba Notified for a Debt That You Already Listed

 Use this page only If you have others to be notified about your bankruptcy for a debt that you already listed In Part 1. For example, If a collection
 agency Is trying to collect from you for a debt you owe to someone else, list the creditor In Part 1, and then list the collection agency here. Slmilarly, If
 you have more than one creditor for any of the debts that you listed In Part 1, list the addltlonal creditors here. If you do not have addltlonal persons to
 be notified for any debts In Part 1, do not fill out or submit this page.



□
                                                                                          On which line in Part 1 did you enter the creditor? _ _

      Name                                                                                Last 4 digits of account number _ _ _ _


      Number        Street




      City                                          State         ZIP Code



□
                                                                                          On which line In Part 1 did you enter the creditor? _ _

      Name                                                                                Last 4 digits of account number _ _ _ _


      Number        Street




      City                                          State         ZIP Code



□
                                                                                          On which line In Part 1 did you enter the creditor? _ _

      Name                                                                                Last 4 digits of account number _ _ _ _


      Number        Street




      City                                          State         ZIP Code



□
                                                                                         On which line In Part 1 did you enter the creditor? _ _

      Name                                                                                Last 4 digits of account number _ _ _ _


      Number        Street




      City                                          State         ZIP Code



□
                                                                                         On which line in Part 1 did you enter the creditor? _ _

      Name                                                                                Last 4 digits of account number _ _ _ _


      Number        Street




      City                                          State         ZIP Code



□
                                                                                         On which line In Part 1 did you enter the creditor? _ _

      Name                                                                                Last 4 digits of account number _ _ _ _


      Number        Street




      City                                          State         ZIP Code



Official Form 106D                          Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                             page_of_
  Fill 111 this 1nfor111at1on to 1dent1fy yout case
                                       Case 22-15317 Doc 1 Filed 09/28/22 Page 27 of 69
                               Case 1:23-cv-01795-JKB
                                         KESTER
                                                      Document 23-2 Filed 07/19/23 Page 28 of 70
                                                    COFIELD
  Debtor 1            DR. KEENAN
                       First.Name                Middle Name              Last Name


  Debtor2
  (Spouse, if fding) First Name                  Middle Name              Last Name



  United States Bankruptcy Court for the: District of Maryland
                                                                                         E1                                                    0 Check if this is an
  Case number                                                                                                                                      amended filing
      (If known)



Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                           12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
A/8: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed In Schedule D: Creditors Who Have Claims Secured by Property. If more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

                    List All of Your PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims against you?
        I.a No. Go to Part 2.
        0 Yes.
 2.     List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
        each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
        nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If you have more than two priority
        unsecured claims, till out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
        (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                Total claim   Priority    Nonpriorlty
                                                                                                                                              amount      amount


           GEICO                                                  Last 4 digits of account number J!_ _l_ _Q_ _l__              $    450 00 $ 450,00$               0,00
          Priority Creditor's Name
           P .0. BOX 70776                                        When was the debt incurred?
          Number           Street

                                                                  As of the date you file, the claim is: Check all that apply
           PHILADELPHIA                   PA      19176
          City                          State     ZIP Code        □ Contingent
                                                                  □ Unliquidated
          Who Incurred the debt? Check one.                       iii! Disputed
          0 Debtor 1 only
           0 Debtor 2 only                                        Type of PRIORITY unsecured claim:
           0 Debtor 1 and Debtor 2 only
                                                                  □ Domestic support obligations
           0 At least one of the debtors and another
                                                                  □ Taxes and certain other debts you owe the government
           0 Check if this claim is for a community debt          □ Claims for death or personal injury while you were
                                                                      intoxicated
          Is the claim subject to offset?
           el No                                                  ef Other. Specify INSURANCE
           0 Yes
§]GEico· . ··                                                     Last 4 digits of account number __l_ _1_        2 ~ $              450.00 $ 450.00 $                0.00
           Priority Creditor's Name
                                                                  When was the debt Incurred?
           PO BOX9500
           Number          Street
                                                                  As of the date you file, the claim Is: Check all that apply

           FREDERICKSBURG VA                      22403           0   Contingent
           City                          State    ZIP Code        0   Unliquidated

           Who Incurred the debt? Check one.
                                                                  lif' Disputed
           0 Debtor 1 only                                        Type of PRIORITY unsecured claim:
           0 Debtor 2 only                                        0   Domestic support obligations
           D Debtor 1 and Debtor 2 only
                                                                  0   Taxes and certain other debts you owe the government
           D At least one of the debtors and another
                                                                  0   Claims for death or personal injury while you were
           □ Check If this claim is for a community debt              intoxicated
           Is the claim subject to offset?                        if Other. Specify INSURANCE
           iiif No
           0 Yes

 Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                         page 1 of_
Debtor 1       DR. KEENAN                KESTER                 {.;Ut-lt:LU                                Case number (lflcnown)_ _ _ _ _ _ _ _ _ _ _ _ __
                First Name      Middle Name         Last Name
                                        Case 22-15317                   Doc 1          Filed 09/28/22 Page 28 of 69
                     Case 1:23-cv-01795-JKB
               Your PRIORITY                      Document
                             Unsecured Claims - Continuation   23-2
                                                             Page                                Filed 07/19/23 Page 29 of 70
After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.                           Total claim   Priority   Nonprlorlty
                                                                                                                                               amount     amount


□ T-MOBILE                                                       Last 4 digits of account number        2 ~ _Q__ _i_             $_ _ _ _ _ $._ _ __      $._ _ _ __
     Priority Creditors Name
      PO BOX 629025                                              When was the debt incurred?
      Number          Street

                                                                 As of the date you file, the claim Is: Check all that apply.

      EL DORADO HILLS CA                       95762              0     Contingent
     City                             State    ZIP Code           0     Unliquidated
                                                                  if Disputed
     Who incurred the debt? Check one.
      0 Debtor 1 only                                            Type of PRIORITY unsecured claim:
      0 Debtor 2 only                                             D Domestic supp0rt obligations
      0 Debtor 1 and Debtor 2 only                                D Taxes and certain other debts you owe the government
      0 At least one of the debtors and another                   D Claims for death or personal injury while you were
                                                                        intoxicated
      0 Check If this claim Is for a community debt
                                                                  lil Other. Specify PHONE DEBT/BILL
      Is the claim subject to offset?
      ilNo
      0 Yes

□ ALLYPriority Creditors Name
                                                                  Last 4 digits of account number ~ ~ ~ _1_
                                                                                                                                 $   2,500.00 $2,500.00 $- - - - -

      PO BOX 380902                                               When was the debt Incurred?
      Number          Street

                                                                  As of the date you file, the claim is: Check all that apply.

      BLOOMINGTON                      MN                         D Contingent
      City                             State   ZIP Code           D Unliquidated
                                                                  ia Disputed
      Who Incurred the debt? Check one.
      0 Debtor 1 only                                             Type of PRIORITY unsecured claim:
      0 Debtor 2 only                                             0     Domestic supp0rt obligations
      0 Debtor 1 and Debtor 2 only                                D Taxes and certain other debts you owe the government
      D At least one of the debtors and another                   0     Claims for death or personal injury while you were
                                                                        intoxicated
      lil Check if this claim is for a community debt             if'   Other. Specify DEBT/ LATE PAYMENT

      Is the claim subject to offset?
      iif No
      0 Yes
□-;:~~-·                                                          Last 4 digits of account number _!          J!_ ~ _1_          $ 2,500.00 $2,500.00 $_ __
      Priority Creditors Name
      PO BOX 78234                                                When was the debt Incurred?
      Number          Street

                                                                  As of the date you file, the claim is: Check all that apply.

      PHOENIX                          AZ      85062              0     Contingent
      City                             State   ZIP Code           D Unliquidated
                                                                  ia' Disputed
      Who Incurred the debt? Check one.
      0 Debtor 1 only                                             Type of PRIORITY unsecured claim:
      0 Debtor 2 only                                             D Domestic support obligations
      0 Debtor 1 and Debtor 2 only                                0     Taxes and certain other debts you owe the government
      0 At least one of the debtors and another                   0     Claims for death or personal injury while you were
                                                                        intoxicated
      if' Check If this claim is for a community debt             lil   Other. Specify DEBT/PAYMENT

      Is the claim subject to offset?
      lil No
      0 Yes

Official Form 106E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                   page_of_
Debtor 1       UR:KEENAN                       Kt:.::ilt:.K               l,;Ut-lt:.LU                        Case number (if"'-"l_ _ _ _ _ _ _ _ _ _ _ _ _ __
                 FtrslName           Middle Name              Last Name
                                             Case 22-15317                     Doc 1     Filed 09/28/22 Page 29 of 69
               List All Case
                        of Your1:23-cv-01795-JKB    Document
                                NONPRIORITY Unsecured Claims 23-2                                  Filed 07/19/23 Page 30 of 70

 3. Do any creditors have nonpriority unsecured claims against you?
    D No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     D Yes
 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
    nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
    included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.lf you have more than three nonpriority unsecured
    claims fill out the Continuation Page of Part 2.

                                                                                                                                                                    Totalclalm

E]    CREDIT ONE                                                                          Last 4 digits of account number _Q_ _Q_ ~ _§_                         $_ _ _ _350.00
                                                                                                                                                                        _ _ __
      Nonpriority Credito~s Name
                                                                                         When was the debt incurred?
      PO BOX 95516
      Number          Street

      LAS VEGAS                                          NV                89193
      City                                              State             ZIP Code       As of the date you file, the claim is: Check all that apply.

                                                                                          □ Contingent
      Who incurred the debt? Check one.                                                   □ Unliquidated
      0 Debtor 1 only                                                                     ~ Disputed
      □ Debtor 2 only
      □ Debtor 1 and Debtor 2 only                                                       Type of NONPRIORITY unsecured claim:
      □ At least one of the debtors and another                                           □ Student loans
                                                                                          □ Obligations arising out of a separation agreement or divorce
      □ Check If this claim is for a community debt
                                                                                              that you did not report as priority claims
      Is the claim subject to offset?                                                     □ Debts to pension or profit-sharing plans, and other similar debts
      0 No                                                                                lfl Other. Specity_D_E_B_T_ _ _ _ _ _ _ _ _ __
      □ Yes
                                                                                                                                           ..

EJFiT'
   -------------- -----------
      Non priority Creditor"s Name
                                                                                          Last 4 digits of account number ___§_ ~ ~ ~
                                                                                          When was the debt Incurred?
                                                                                                                                                                $   750.00
                                                                                                                                                                -------

      PO BOX 6812
      Number          Street

      CAROL STREAM                                       IL                60197          As of the date you file, the claim Is: Check all that apply.
                                                                          ZIP Code
      City                                              State
                                                                                          □ Contingent
      Who Incurred the debt? Check one.                                                   □ Unliquidated

      0 Debtor 1 only                                                                     i.;I' Disputed
      □ Debtor 2 only
                                                                                          Type of NONPRIORITY unsecured claim:
      □ Debtor 1 and Debtor 2 only
      □ At least one of the debtors and another                                           □ Student loans
                                                                                          0 Obligations arising out of a separation agreement or divorce
      □ Check If this claim Is for a community debt                                         that you did not report as priority claims

      Is the claim subject to offset?                                                     □ Debts to pension or profit-sharing plans, and other similar debts
      0 No                                                                                Ill Other. Specify -DEBT
                                                                                                               ---------------
      □ Yes

8     FIRST PREMIER
      Nonpriority Credito~• Name
                                                                                          Last 4 digits of account number --5. _L _Q_ _A.
                                                                                                                                                                $
                                                                                                                                                                    -------
                                                                                                                                                                           1,300.00
                                                                                          When was the debt Incurred?
      PO BOX 5519
      Number          Street
      SIOUX FALLS                                        SD                57117          As of the date you file, the claim Is: Check all that apply.
      City                                              State             ZIP Code

                                                                                          □ Contingent
      Who Incurred the debt? Check one.
                                                                                          0   Unliquidated
      □ Debtor 1 only                                                                     liil' Disputed
      □ Debtor 2 only
      □- Debtor 1 and Debtor 2 only                                                       Type of NONPRIORITY unsecured claim:
      0 At least one of the debtors and another
                                                                                          0   Student loans
      0 Check If this claim is for a community debt                                       □ Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
      Is the claim subject to offset?
                                                                                          0 Debts to pension or profit-sharing plans, and other similar debts
      □ No                                                                                fil Other. Specity__,D=E=-=Bc..cT,____ _ _ _ _ _ _ _ __
      □ Yes



Official Form 106E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                                                        page_of_
                   DR. KEENAN                 Case 22-15317
                                               KESTER              Doc 1 Filed 09/28/22
                                                                COFIELD                     Page(dknownJ,
                                                                                      Case number  30_of_69 _ _ _ _ _ _ _ _ _ _ _ __
Debtor 1
                    First Name
                                 CaseMiddle
                                        1:23-cv-01795-JKB
                                            Name      Last Name
                                                                   Document 23-2 Filed  07/19/23          Page 31 of 70

                   Your NONPRIORITY Unsecured Claims - Continuation Paga


 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                    Totalclalm




□     CITY OF BAL Tl MORE/PARKING FINES SECTION
      Nonpriority Creditor's Name
                                                                                     Last 4 digits of account number .l_ _1__1_ ~

                                                                                     When was the debt incurred?
                                                                                                                                                           - - -80.00
                                                                                                                                                           $
                                                                                                                                                                 --
      P.O. BOX 13327
      Number             Street
                                                                                     As of the date you file, the claim is: Check all that apply.
      BALTIMORE                                      MD             21203
      City                                           State         ZIP Code          □ Contingent
                                                                                     □ Unliquidated
     Who incurred the debt? Check one.                                               fil Disputed
         □ Debtor 1 only
         □ Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
         □ Debtor 1 and Debtor 2 only                                                □ Student loans
         ~ At least one of the debtors and another                                   □ Obligations arising out of a separation agreement or divorce that
                                                                                         you did not report as priority claims
      □ Check if this claim is for a community debt
                                                                                     □ Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                0 other. Specify PARKING TICKET
      8No
         □ Yes



□ -~ITV OF BALTIMOR~~;~~~;~-~-~l~-~~--~-~-C;;~~--                                    Last 4 digits of account number J_ _§_         JL ~                   $ 80.00
                                                                                                                                                           --- --
      Nonpnonty Credrtor's Name
                                                                                     When was the debt Incurred?
         P.O. BOX 13327
      Number              Street
                                                                                     As of the date you file, the claim Is: Check all that apply.
         BALTIMORE                                   MD             21203
      City                                           State         ZIP Code          □ Contingent
                                                                                     □ Unliquidated
      Who incurred the debt? Check one.                                              fil Disputed
         ~ Debtor 1 only
         □ Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
         □ Debtor 1 and Debtor 2 only                                                □ Student loans
         □ At least one of the debtors and another                                   □ Obligations arising out of a separation agreement or divorce that
                                                                                         you did not report as priority claims
         ~ Check if this claim is for a community debt
                                                                                     □ Debts to pension or profit-sharing plans, and other similar debts
         Is the claim subject to offset?                                             liif other. Specify PARKING TICKET
         liif No
         □ Yes

□    .   DISTRICT COURT OF MD-CITATION TICKET
                                                                                     Last 4 digits of account number _Q_         X _Q__ -1_
         Nonpriority Creditor's Name
                                                                                     When was the debt Incurred?
         P.O. BOX 6676
         Number           Street
                                                                                     As of the date you file, the claim is: Check all that apply.
         ANNAPOLIS                                   MD             21401
         City                                        State         ZIPCode           □ Contingent
                                                                                     □ Unliquidated
         Who incurred the debt? Check one.                                           ~ Disputed
         ~ Debtor 1 only
         □ Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
         □ Debtor 1 and Debtor 2 only                                                □ Student loans
         □ At least one of the debtors and another                                   □ Obligations arising out of a separation agreement or divorce that
                                                                                         you did not report as priority claims
         □ Check if this claim Is for a community debt
                                                                                     □ Debts to pension or profit-sharing plans, and other similar debts
         Is the claim subject to offset?                                             iii Other. Specify TICKET DEBT
         iiJNo
         □ Yes




Official Form 106E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 page_of_
 Debtor 1      DR. KEENAN                 Kl::Sll::K               <.;Ut-11::LU                         Case number (if known),_ _ _ _ _ _ _ _ _ _ _ _ __
                First Name       Middle Name           Last Name
                                     Case 22-15317 Doc 1 Filed 09/28/22 Page 31 of 69
                             Case 1:23-cv-01795-JKB Document 23-2 Filed 07/19/23 Page 32 of 70
               List Others to Be Notified About a Debt That You Already Listed

 5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
    example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
    2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
    additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

       MARYLAND STATE POLICE                                                      On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

       1201 REISTERSTOWN RD.                                                      Line       of (Check one): ia' Part 1: Creditors with Priority Unsecured Claims
      Number         Street                                                                                   □ Part 2: Creditors with Nonpriority Unsecured Claims
      TICKET CITATION-OWOXD3
       PIKESVILLE                               MD           21208
                                                                                  Last 4 digits of account number _Q_ ~ _Q_      2
      City                                     State               ZIP Code


                                                                                  On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

                                                                                  Line       of ( Check one): □ Part 1: Creditors with Priority Unsecured Claims
      Number         Street                                                                                    □ Part 2: Creditors with Nonpriority Unsecured
                                                                                  Claims

                                                                                  Last 4 digits of account number _     __ _
      City                                     State               ZIP Code


                                                                                  On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

                                                                                  Line       of ( Check one): □ Part 1: Creditors with Priority Unsecured Claims
      Number         Street                                                                                    □ Part 2: Creditors with Nonpriority Unsecured
                                                                                  Claims

                                                                                  Last 4 digits of account number _      __ _
      City                                     State               ZIP Code

                                                                                  On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

                                                                                  Line       of (Check one): □ Part 1: Creditors with Priority Unsecured Claims
      Number         Street                                                                                    □ Part 2: Creditors with Nonpriority Unsecured
                                                                                  Claims

                                                                                  Last 4 digits of account number _     __ _
      City                                     State               ZIP Code


                                                                                  On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

                                                                                  Line       of (Check one): □ Part 1: Creditors with Priority Unsecured Claims
      Number         Street                                                                                    □ Part 2: Creditors with Nonpriority Unsecured
                                                                                  Claims

                                                                                  Last 4 digits of account number _      __ _
                                                                   ZIP Code

                                                                                  On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

                                                                                  Line       of ( Check one): □ Part 1: Creditors with Priority Unsecured Claims
      Number         Street                                                                                    □ Part 2: Creditors with Nonpriority Unsecured
                                                                                  Claims

                                                                                  Last 4 digits of account number _     __ _
      C:ity                                    State               ZIP Code


                                                                                  On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

                                                                                  Line       of (Check one): □ Part 1: Creditors with Priority Unsecured Claims
      Number         Street
                                                                                                               □ Part 2: Creditors with Nonpriority Unsecured
                                                                                  Claims


                                                                   ZIP Code
                                                                                  Last 4 digits of account number _      __ _
      City                                     State



Official Form 106E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                  page_of_
   F1ll In tti1s 1nfo1111at1on to 1dent1fy your case
                                   Case 22-15317 Doc 1 Filed 09/28/22 Page 32 of 69
                           Case 1:23-cv-01795-JKB
                     DR. KEENAN         KESTER
                                                  Document 23-2 Filed 07/19/23 Page 33 of 70
   Debtor 1                                                            COFIELD
                       First Name              Middle Name                 Last Name

   Debtor2
   (Spouse, if filing) First Name              Middle Name                 Last Name


   United States Bankruptcy Court for the: District of Maryland
                                                                                       E1                                                          0 Check if this is an
   Case number
   (If known)                                                                                                                                          amended filing


 Official Form 106E/F
 Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
 List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
 AIB: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
 creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
 needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
 any additional pages, write your name and case number (if known).

                 List All of Your PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims against you?
     lia No. Go to Part 2.
     0 Yes.
 2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
    each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
    nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If you have more than two priority
    unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
    (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                 Total claim     Priority       Nonprlortty
                                                                                                                                                 amount         amount

E]      NAVY FEDERAL CREDIT UNION
       Priority Creditor's Name
                                                                  Last 4 digits of account number __l_ J!_ ~ ~               $        250 00 $              $       250 00
       PO BOX 3000                                                When was the debt incurred?
       Number            Street

                                                              As of the date you flle, the claim is: Check all that apply.
       MERRIFIELD                      VA     22119
       City                          State    ZIP Code        □ Contingent
       Who incurred the debt? Check one.                      □ Unliquidated
                                                              0 Disputed
       Ml Debtor 1 only
       □ Debtor 2 only                                        Type of PRIORITY unsecured claim:
       □ Debtor 1 and Debtor 2 only
       □ At least one of the debtors and another
                                                              □ Domestic support obligations
      0 Check if this clalm is for a community debt           □ Taxes and certain other debts you owe the government
                                                              □ Claims for death or personal injury while you were
      Is the clalm subject to offset?                                intoxicated
      ef No                                                   0 Other. Specify DEBTS
      □ Yes
0··NAw i=EDERAL cREri1=r·u·N1o·N ·
      Priority Creditor's Name
                                                              Last 4 digits of account number _1_ ~ J!_ J!_                  $        750.00 $              $      750.00
       PO BOX 3000                                            When was the debt Incurred?
      Number            Street
                                                              As of the date you flle, the claim Is: Check all that apply

      MERRIFIELD                      VA     22119            □ Contingent
      City                           State    ZIP Code        □ Unliquidated
      Who Incurred the debt? Check one.                       1B' Disputed
      wl Debtor 1 only
                                                              Type of PRIORITY unsecured claim:
      □ Debtor 2 only
                                                              □ Domestic support obligations
      □ Debtor 1 and Debtor 2 only
      □ At least one of the debtors and another               □ Taxes and certain other debts you owe the government
                                                              □ Claims for death or personal injury while you were
      □ Check If this clalm Is for a community debt
                                                                    intoxicated
      Is the clalm subject to offset?                         B Other. Specity_D_E_B_T_S_ _ _ _ _ _ _ __
      0 No
      □ Yes

Official Form 106E/F                                  Schedule EIF: Creditors Who Have Unsecured Claims                                                page 1 of_
                   DR. KEENAN
  Debtor 1                             Case    22-15317
                                             KESTER          Doc 1 Filed 09/28/22CasePage
                                                             COFIELD                         33
                                                                                      number (if     of
                                                                                                 known)_ 69
                                                                                                         _ _ _ _ _ _ _ _ _ _ _ __
                            Case 1:23-cv-01795-JKB
                     Firat Name  Middle Name       Last Name
                                                             Document 23-2 Filed 07/19/23 Page 34 of 70
                    Your PRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.                                           Totalclalm              Priority           Nonprtorlty
                                                                                                                                                                           amount             amount


 □ CITIBANK                                                               Last 4 digits of account number ~ ~ ~ ~                               $ 1,500.00 $_ __                          $    1,500.00
          Priority Creditor's Name
          100 CITIBANK DRIVE
                                                                          When was the debt incurred?
          Number          Street

                                                                          As of the date you file, the claim Is: Check all that apply.

          SAN ANTONIO                       TX         78245              D Contingent
          City                              State      ZIP Code           D Unliquidated
                                                                          IS Disputed
          Who incurred the debt? Check one.
          liif' Debtor 1 only                                             Type of PRIORITY unsecured claim:
          D Debtor 2 only
                                                                          D Domestic support obligations
          D Debtor 1 and Debtor 2 only
                                                                          D Taxes and certain other debts you owe the government
          D Al least one of the debtors and another                       D Claims for death or personal injury while you were
          D Check If this claim Is for a community debt                        intoxicated
                                                                          lil Other. Specity_D_E_B_T_S_ _ _ _ _ _ __
          Is the claim subject to offset?



          .. . ·• . . . . .. . . . '" " . . . . . . - - ,- - - .., .,. . .--.. . . . - -· - , _____ _ _ _,._ _ _ _,- - - . ,_ _ . _ _ _ _ _ , _ _ _ _ _ _._ _ _ _ _ _ . . . . . .,_. . ., . ,. . . . .
          if'No
          D Yes
     □
          FED EX/SYNTER RESOURCE GROL
         Priority Credttor's Name
                                                                          Last 4 digits of account number          2 ~ _1_ ~                   $       250.00 $ _ _ _ $                          250.00

          PO BOX63247                                                     When was the debt Incurred?
         Number           Street

                                                                          As of the date you file, the claim is: Check all that apply.

          NORTH CAHRLESTt SC                          29419               D Contingent
         City                              State      ZIP Code            D Unliquidated
                                                                          ~ Disputed
         Who Incurred the debt? Check one.
         D Debtor 1 only                                                 Type of PRIORITY unsecured claim:
         D Debtor 2 only
                                                                          D Domestic support obligations
         D Debtor 1 and Debtor 2 only
                                                                          D Taxes and certain other debts you owe the government
         D At least one of the debtors and another
                                                                          D Claims for death or personal injury while you were
         1iiJ Check if this claim is for a community debt                     intoxicated
                                                                         iif Other. Specity_D_E_B_T_ _ _ _ _ _ _ __
         Is the claim subject to offset?

         □ No
         if Yes
                                                                                                                                              $ 1,000.00 $_ __                            $    1,000.00
         Priority Creditor's Name
         PO BOX 3220                                                     When was the debt incurred?
         Number          Street

                                                                         As of the date you file, the claim Is: Check all that apply.

         BUFFALO                           NY         14240              D Contingent
         City                              Stale      ZIP Code           D Unliquidated
                                                                         ~ Disputed
         Who incurred the debt? Check one.
         if' Debtor 1 only                                               Type of PRIORITY unsecured claim:
         D Debtor 2 only
                                                                         D Domestic support obligations
         D Debtor 1 and Debtor 2 only
                                                                         D Taxes and certain other debts you owe the government
         D At least one of the debtors and another
                                                                         D Claims for death or personal injury while you were
         D Check if this claim is for a community debt                        intoxicated                                                    ...... ,...•. ·--- ·- ------ ---·· ..... -
                                                                         1iiJ Other. Specity_D_E_B_T_ _ _ _ _ _ __
         Is the claim subject to offset?
         lil No
         D Yes

Official Form 106E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                                            page_of_
  Debtor 1                                         l\.t:.:> I t:l"'t              \.,Ut" I t:LU                         Case number (Nknownl._ _ _ _ _ _ _ _ _ _ _ _ _ __
                  First Name         Middle Name                Last Name
                                          Case 22-15317                         Doc 1         Filed 09/28/22 Page 34 of 69
                      Case
                List All      1:23-cv-01795-JKB
                         of Your                    Document
                                 NONPRIORITY Unsecured Claims 23-2                                      Filed 07/19/23 Page 35 of 70
  3. Do any creditors have nonpriority unsecured claims against you?
      D No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      0 Yes
  4. List all of your nonpriorlty unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.lf you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                         Total clalm
E:] TRUIST BANK                                                                                    Last 4 digits of account number~ ~ ~ -1._
       Nonpriority Creditor's Name                                                                                                                                           9,_34_6_.o_o_
                                                                                                                                                                        $_ _ _

       214 N TRYON ST                                                                             When was the debt incurred?
       Number          Street
       CHARLOTTE                                            NC               28202
       City                                                 State           ZIPCode               As of the date you file, the claim is: Check all that apply.

                                                                                                  □ Contingent
       Who incurred the debt? Check one.                                                          □ Unliquidated
       121 Debtor 1 only                                                                          □ Disputed
       □ Debtor 2 only
       □ Debtor 1 and Debtor 2 only                                                               Type of NONPRIORITY unsecured claim:
       □ At least one of the debtors and another
                                                                                                  □ Student loans
       □ Check If this claim Is for a community debt                                              □ Obligations arising out of a separation agreement or divorce
                                                                                                      that you did not report as priority claims
       Is the claim subject to offset?                                                            □ Debts to pension or profit-sharing plans, and other similar debts
       121 No                                                                                     if Other. Specify_D_E_B_T_S_ _ _ _ _ _ _ _ __
       □ Yes

EJ ETRAciE MORGAN STANLEY
       Nonpriority Creditor's Name
                                                                                                  Last 4 digits of account number
                                                                                                  When was the debt incurred?
                                                                                                                                          2 2 _! -1._                             15.00
                                                                                                                                                                        $._ _ _ _ _ __


       PO BOX484
       Number          Street
      JERSEY CITY                                           NJ               07303                As of the date you file, the claim is: Check all that apply.
       City                                                State            ZIP Code
                                                                                                  □ Contingent
       Who incurred the debt? Check one.                                                          □ Unliquidated
       0 Debtor 1 only                                                                            ~ Disputed
       □ Debtor 2 only
       □ Debtor 1 and Debtor 2 only                                                               Type of NONPRIORITY unsecured claim:
       □ At least one of the debtors and another                                                  □ Student loans
                                                                                                  □ Obligations arising out of a separation agreement or divorce
       □ Check If this claim Is for a community debt                                                  that you did not report as priority claims
      Is the claim subject to offset?                                                             □ Debts to pension or profit-sharing plans, and other similar debts
      if No                                                                                       if Other. Specify DEBTS
                                                                                                                      -------------- --
       □ Yes

                                                                                                  Last 4 digits of account number -9. _Q. _Q. _..3.
      Nonpriority Creditor's Name
                                                                                                                                                                        $_ _ _ _165.00
                                                                                                                                                                                 _ __
                                                                                                  When was the debt Incurred?
      PO BOX 71344
      Number          Street
      PHIL                                                 PA                19176
      City
                                                                                                  As of the date you file, the claim is: Check all that apply.
                                                          State             ZIP Code

                                                                                                  □ Contingent
      Who Incurred the debt? Check one.
                                                                                                  □ Unliquidated
      lil Debtor 1 only
                                                                                                  lil Disputed
      □ Debtor 2 only
      □ Debtor 1 and Debtor 2 only
                                                                                                  Type of NONPRIORITY unsecured claim:
      □ At least one of the debtors and another
                                                                                                  □ Student loans
      □ Check If this claim Is for a community debt                                               □ Obligations arising out of a separation agreement or divorce
                                                                                                      that you did not report as priority claims
      Is the claim subject to offset?
                                                                                                  □ Debts to pension or profit-sharing plans, and other similar debts
      lil No
      □ Yes
                                                                                                  lil Other. Specify -'D=E=B~T~S=-------- ----


Official Form 106E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                                                            page_of_
  Debtor 1       DR. KEENAN         Case    22-15317 Doc
                                          KESTER             1 Filed 09/28/22GasePage
                                                          COFIELD                        35 of_69
                                                                                  number 111<oown,l _ _ _ _ _ _ _ _ _ _ _ _ __
                         Case 1:23-cv-01795-JKB
                  First Name  Mickle Name       Last Name Document 23-2 Filed 07/19/23 Page            36 of 70

                 Your NONPRIORITY Unsecured Claims - Continuation Page


  After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                  Total claim




□      FEDELITY
       Nonpriority Creditor's Name
                                                                                   Last 4 digits of account number ~ _!_ _Q_ J_

                                                                                   When was the debt Incurred?
                                                                                                                                                         $. _ _2_5_.o_o
       PO BOX28001
       Number          Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       ALBUQUERQUE                                     NM         87125
       City                                            State     ZIP Code          D Contingent
                                                                                   D Unliquidated
       Who incurred the debt? Check one.
                                                                                   iii' Disputed
       lil Debtor 1 only
       D Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
       D Debtor 1 and Debtor 2 only                                                D Student loans
       D At least one of the debtors and another                                   D Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
       D Check If this clalm is for a community debt
                                                                                   D Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                             iiif Other. Specify_D=E:..::B:....:T:....:S:.___ _ _ _ _ __
       if No
       D Yes

□ MDT~~~~~~~~~~~:-~~;:~:;~ -·········-· ·-----------·-L:~:~~i~-,~-o~:~::~-~:-~~:~r-· ~----~---·_·;_·-·-~------ ·----------~-----~·;;_~~
       Nonpriority Creditor's Name
                                                                                   When was the debt incurred?
       PO BOX 12853
       Number         Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       PHILADELPHIA                                    PA         19176
       City                                           State     ZIP Code           D Contingent
                                                                                   D Unliquidated
       Who incurred the debt? Check one.
                                                                                   iii' Disputed
       D Debtor 1 only
       D Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
       D Debtor 1 and Debtor 2 only                                                D Student loans
       iii' At least one of the debtors and another                                D Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
       iii' Check If this claim is for a community debt
                                                                                   D Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              liil Other. Specify TICKETS TOLLS
       iiif No
       D Yes
□----
                                                                                                                                                         $,_ _ _ __
                                                                                                                                                              400.00
      MD TRANSPORTATION AUTHORITY                                                  Last 4 digits of account number _1__ _1_ _1_           i
      Nonpriority Creditor's Name
                                                                                   When was the debt Incurred?
      PO BOX 12853
      Number          Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      PHILADELPHIA                                    PA         19176
      City                                            State     ZIPCode            D Contingent
                                                                                   D Unliquidated
      Who incurred the debt? Check one.
                                                                                   iii' Disputed
      D Debtor 1 only
      D Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
      D Debtor 1 and Debtor 2 only                                                 D Student loans
      lil At least one of the debtors and another                                  D Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
      D Check If this claim is for a community debt
                                                                                   D Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              liil Other. Specify TOLLS ADMINISTRATIVE FEE~
      if No
      D Yes



Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                              page_of_
  Debtor 1      DR. KEENAN     Case 22-15317 Doc
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                                                                              (ifknownl, _ _ _ _ _ _ _ _ _ _ _ __
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                 First Name    Middle Name            Last Name



                List Others to Be Notified About a Debt That You Already Listed

  s. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
      example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
      2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
      additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

        MD TRANSPORTATION AUTHORITY                                          On which entry in Part 1 or Part 2 did you list the original creditor?
       Name

        PO BOX 5060                                                          Line        of (Check one): □ Part 1: Creditors with Priority Unsecured Claims
       Number         Street
                                                                                                          ef Part 2: Creditors with Nonpriority Unsecured Claims
                                                                             Last 4 digits of account number___! ___! _1_ .l._
        MIDDLE RIVER                          MD           21220
       City                                   State               ZIP Code

        MD MOTOR VEHICLE ADMINISTRATION                                      On which entry in Part 1 or Part 2 did you list the original creditor?
       Name

       6601 RITCHIE HIGHWAY, NE                                              Line        of (Check one): D Part 1: Creditors with Priority Unsecured Claims
       Number         Street
                                                                                                          iii' Part 2: Creditors with Nonpriority Unsecured
                                                                             Claims

       GLEN BURNIE                            MD           21062             Last 4 digits of account number _i _i _1_ .l._
       City                                  State                ZIP Code


                                                                             On which entry in Part 1 or Part 2 did you list the original creditor?
       Name

                                                                             Line        of ( Check one): □ Part 1: Creditors with Priority Unsecured Claims
       Number         Street
                                                                                                          D Part 2: Creditors with Nonpriority Unsecured
                                                                             Claims

                                                                             Last 4 digits of account number _      __ _
       City                                  State                ZIP Code

                                                                             On which entry in Part 1 or Part 2 did you list the original creditor?
       Name

                                                                             Line       of (Check one): □ Part 1: Creditors with Priority Unsecured Claims
       Number        Street
                                                                                                          D Part 2: Creditors with Nonpriority Unsecured
                                                                             Claims

                                                                             Last 4 digits of account number _     __ _
       City                                  State                ZIP Code


                                                                             On which entry in Part 1 or Part 2 did you list the original creditor?
       Name

                                                                             Line       of ( Check one): □ Part 1: Creditors with Priority Unsecured Claims
      Number         Street
                                                                                                          D Part 2: Creditors with Nonpriority Unsecured
                                                                             Claims

                                                                             Last 4 digits of account number _     __ _
      City                                   State            ZIP Code

                                                                             On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

                                                                             Line       of ( Check one): □ Part 1: Creditors with Priority Unsecured Claims
      Number         Street
                                                                                                         D Part 2: Creditors with Nonpriority Unsecured
                                                                             Claims

                                                                             Last 4 digits of account number _     __ _
      City                                   State            ZIP Code


                                                                             On which entry in Part 1 or Part 2 did you list the original creditor?
      Name


                                                                             Line       of ( Check one): D Part 1: Creditors with Priority Unsecured Claims
      Number         Street
                                                                                                         D Part 2: Creditors with Nonpriority Unsecured
                                                                             Claims


      City                                   State            ZIP Code
                                                                             Last 4 digits of account number _     __ _


Official Form 106E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                               page_of_
  Debtor 1                                Case 22-15317 Doc 1 Filed 09/28/22Case number
                                                                                  Page(if 37 of 69                                        known),_ _ _ _ _ _ _ _ _ _ _ _ _ __
                    First NameCaseMiddfe
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                                         Name     Lest Name Document 23-2 Filed 07/19/23 Page 38 of 70
                  Your PRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 2.3, followed by 2A, and so forth.                                              Total claim   Priority       Nonprlorlty
                                                                                                                                                                   amount         amount


□       EXPASSMD                                                                  Last 4 digits of account number _ _ _ _                        s      450.00 $_ __          $      450.00
       Priority Creditor's Name
        PO BOX          17600                                                     When was the debt incurred?
       Number            Street

                                                                                  As of the date you file, the claim Is: Check all that apply.

       BALTIMORE                                MD          21297                 □ Contingent
       City                                     State       ZIP Code              □ Unliquidated
                                                                                  S Disputed
       Who incurred the debt? Check one.
       □ Debtor 1 only                                                           Type of PRIORITY unsecured claim:
       □ Debtor 2 only
                                                                                 □ Domestic support obligations
       □ Debtor 1 and Debtor 2 only
                                                                                 □ Taxes and certain other debts you owe the government
       lil At least one of the debtors and another
                                                                                 □ Claims for death or personal injury while you were
       □ Check if this claim Is for a community debt                                  intoxicated
                                                                                 ii' Other. Specify TICKETS & ADMIN FEES
       Is the claim subject to offset?
       if'No

□    . . ,_ -· · -· - - •-' · · - . . . . . . ,. -· . . . . . . . . · · ·- - ·
       □ Yes


       MD TRANSPORTATION AUTHORITY                                                                                                                      450.00 $- - - - $            450.00
                                                                                 Last 4 digits of account number _         _     _    _          $
       Priority Creditor's Name

       2310 BROENING HIGHWAY                                                     When was the debt incurred?
       Number            Street

                                                                                 As of the date you file, the claim is: Check all that apply.

       BALTIMORE                               MD           21224                □ Contingent
       City                                    Stale        ZIP Code             □ Unliquidated
                                                                                 Ml' Disputed
       Who incurred the debt? Check one.
       ii' Debtor 1 only                                                         Type of PRIORITY unsecured claim:
       □ Debtor 2 only
                                                                                 □ Domestic support obligations
       □ Debtor 1 and Debtor 2 only
                                                                                 □ Taxes and certain other debts you owe the government
       □ At least one of the debtors and another
                                                                                 □ Claims for death or personal injury while you were
       ii' Check if this claim is for a community debt                               intoxicated
                                                                                 1H' Other. Specify_T_O_L_L_F_E_E_S_ _ _ _ __
      Is the claim subject to offset?
      iif No
       □ Yes

□-     MD MVA CENTAL COLLECTIONS
                                                                                 Last 4 digits of account number _ _ _ _                         $   1,100.00 $._ __          $    1,100.00
      Prtortty Creditor's Name
       6601 RITCHIE HIGHWAY                                                      When was the debt incurred?
      Number            Street

                                                                                 As of the data you file, the claim Is: Check all that apply.

      GLEN BURNIE                             MD           21062                 □ Contingent
      City                                    State        ZIP Code              □ Unliquidated
                                                                                 iif Disputed
      Who incurred the debt? Check one.
      re' Debtor 1 only                                                          Type of PRIORITY unsecured claim:
      □ Debtor 2 only
                                                                                 □ Domestic support obligations
      □ Debtor 1 and Debtor 2 only
                                                                                 □ Taxes and certain other debts you owe the government
      □ At least one of the debtors and another
                                                                                 □ Claims for death or personal injury while you were
      re' Check if this claim Is for a community debt                                intoxicated
                                                                                 ii' Other. Specify TICKETS/ADM IN FEES
      Is the claim subject to offset?
      lil No
      □ Yes


Official Form 106E/F                                                Schedule E/F: Creditors Who Have Unsecured Claims                                                         page_of_
  Debtor 1                             Case 22-15317 Doc 1 Filed 09/28/22Case Page      38 _
                                                                              number (lfknownl, of_69
                                                                                                    _ _ _ _ _ _ _ _ _ _ __
                           CaseMiddle
                  First Name
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                                      Name
                                                     Document 23-2 Filed 07/19/23 Page 39 of 70
                                                        Last Name



                List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
      D No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      D Yes
  4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.lf you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                          Total claim
E]     COMPTROLLER OF MD                                                        Last 4 digits of account number _         __ _
                                                                                                                                                                 1,100.00
       Nonpriority Creditor's Name                                                                                                                    $
                                                                                                                                                          -------
       301 W. PRESTON ST. BANKRUPTCY UNIT                                       When was the debt incurred?
       Number          Street
       BALTIMORE                                     MD              21201
       City                                          State          ZIP Code    As of the date you file, the claim is: Check all that apply.

                                                                                □ Contingent
       Who incurred the debt? Check one.                                        □ Unliquidated
       □ Debtor 1 only                                                          1:J Disputed
       □ Debtor 2 only
       □ Debtor 1 and Debtor 2 only                                             Type of NONPRIORITY unsecured claim:
       0 At least one of the debtors and another                                □ Student loans
       0 Check If this claim Is for a community debt                            □ Obligations arising out of a separation agreement or divorce
                                                                                     that you did not report as priority daims
       Is the claim subject to offset?                                          □ Debts to pension or profit-sharing plans, and other similar debts
       0 No                                                                     Iii' other. Specify TICKETS/ ADMIN FEES
       □ Yes

EJ     MD coMPTROLLER-T AX coLi::EcT10Ns
       Nonpriority Creditor's Name
                                                                               Last 4 digits of account number _ _ _ _
                                                                               When was the debt incurred?
                                                                                                                                                      $  . 5,000.00
                                                                                                                                                      ·----'----
      80 CALVERT ST./PO BOX 466
       Number         Street
      AN NAP POLIS                                  MD               21202     As of the date you file, the claim Is: Check all that apply.
       City                                         State           ZIP Code
                                                                               □ Contingent
       Who incurred the debt? Check one.                                       □ Unliquidated
       □ Debtor 1 only                                                         le1' Disputed
       □ Debtor 2 only
       □ Debtor 1 and Debtor 2 only                                            Type of NONPRIORITY unsecured claim:
       0 At least one of the debtors and another                               □ Student loans
                                                                               □ Obligations arising out of a separation agreement or divorce
       ii Check if this claim is for a community debt                               that you did not report as priority daims
      Is the claim subject to offset?                                          □ Debts to pension or profit-sharing plans, and other similar debts
      0 No                                                                     Iii' Other. Specify TICKETS ETC.
       □ Yes

EJ.   WELLS FARGO
      Nonpriority Creditor's Name
                                                                               Last 4 digits of account number _..5. _6. -2. -9.
                                                                                                                                                      $       20,000.00
                                                                               When was the debt incurred?
      301 S TRYON ST
      Number          Street
      CHARLOTTE                                     NC               28282
      City
                                                                               As of the date you file, the claim is: Check all that apply.
                                                    State           ZIP Code

      Who incurred the debt? Check one.
                                                                               □ Contingent
                                                                               □ Unliquidated
      □ Debtor 1 only
      □ Debtor 2 only
                                                                               Iii' Disputed
      □ Debtor 1 and Debtor 2 only
                                                                               Type of NONPRIORITY unsecured claim:
      lil At least one of the debtors and another
                                                                               □ Student loans
      lil Check if this claim is for a community debt                          □ Obligations arising out of a separation agreement or divorce
                                                                                 that you did not report as priority daims
      Is the claim subject to offset?
                                                                               □ Debts to pension or profit-sharing plans, and other similar debts
      lil No
      □ Yes
                                                                               lil Other. Specify__,D=E=B'- -'T'-'S=--------------


Official Form 106E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                     page_of_
  Debtor 1                              Case 22-15317 Doc 1 Filed 09/28/22Case Page       39 of 69
                                                                                number (if known)._ _ _ _ _ _ _ _ _ _ _ _ _ __
                  First NameCaseMiddle
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                                       Name     last Name Document 23-2 Filed 07/19/23           Page 40 of 70

                Your NONPRIORITY Unsecured Claims - Continuation Page


  After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                 Total clalm



□      HOWARD BANK
       Nonpriority Cre,mor's Name
                                                                                Last 4 digits of account number _ _ _ _

                                                                                When was the debt incurred?
                                                                                                                                                        $_ _ 7s_o_.o_o
       3301 BOSTON sT.
       Number          Street
                                                                                As of the date you file, the claim is: Check all that apply.
       BALTIMORE                                    MD         21224
       City                                         State     ZIP Code           □ Contingent
                                                                                 □ Unliquidated
       Who incurred the debt? Check one.
                                                                                iii' Disputed
       □ Debtor 1 only
       □ Debtor 2 only                                                          Type of NONPRIORITY unsecured claim:
       □ Debtor 1 and Debtor 2 only
                                                                                □ Student loans
       lil At least one of the debtors and another                              □ Obligations arising out of a separation agreement or divorce that
                                                                                     you did not report as priority claims
       lil Check If this claim is for a community debt
                                                                                □ Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                          H Other. Specify-DEBTS
                                                                                                  ------------
       0No
       □ Yes



                                                                                Last 4 digits of account number _ _ _ _                                 $_ _  2_s_.o_o
       Nonpriority Credrtor's Name
                                                                                When was the debt Incurred?
       200 PARK AVE.
       Number          Street
                                                                                As of the date you file, the claim Is: Check all that apply.
       NY                                           NY         10166
       City                                        State      ZIP Code          □ Contingent
                                                                                □ Unliquidated
       Who incurred the debt? Check one.
                                                                                iii' Disputed
       iii' Debtor 1 only
       □ Debtor 2 only                                                          Type of NONPRIORITY unsecured claim:
       □ Debtor 1 and Debtor 2 only
                                                                                □ Student loans
       □ At least one of the debtors and another
                                                                                □ Obligations arising out of a separation agreement or divorce that
                                                                                    you did not report as priority claims
       □ Check If this claim is for a community debt
                                                                                0   Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?
                                                                                ii' Other. Specify---'D"-=E=B---'T-"S"---- ------
       if' No
       □ Yes

                                                                                                                                                        $_ _ _ __
                                                                                Last 4 digits of account number _ _ _ _
      Nonpriority Creditor's Name
                                                                                When was the debt Incurred?
      Number          Street
                                                                                As of the date you file, the claim is: Check all that apply.
      City                                         State     ZIP Code           0   Contingent
                                                                                0   Unliquidated
      Who incurred the debt? Check one.
                                                                                0   Disputed
      0 Debtor 1 only
      0 Debtor 2 only                                                           Type of NONPRIORITY unsecured claim:
      0 Debtor 1 and Debtor 2 only                                              0   Student loans
      0 At least one of the debtors and another                                 0   Obligations arising out of a separation agreement or divorce that
                                                                                    you did not report as priority claims
      0 Check If this claim Is for a community debt
                                                                                0   Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                           0   Other. Specify_ _ _ _ _ _ _ _ _ _ __
      0 No
      0 Yes



Official Form 106E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                page_of_
----------------------                                       -     -




    Debtor 1       DR. KEENAN            Case 22-15317
                                          KESTER            Doc 1 Filed 09/28/22Case Page
                                                      COFIELD                        number (if40
                                                                                               known)of
                                                                                                     __ 69
                                                                                                         _ _ _ _ _ _ _ _ _ _ _ __
                             CaseMiddle
                     First Name   1:23-cv-01795-JKB
                                        Name     Last Name  Document 23-2 Filed 07/19/23 Page 41 of 70
                  List All of Your NONPRIORITY Unsecured Claims

    3. Do any creditors have nonpriority unsecured claims against you?
        liiil No. You have nothing to report in this part. Submit this form to the court with your other schedules.
        0 Yes
    4. List all of your nonpriority unsecured claims In the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.lf you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                         Total claim

   E2] BLUEVINE                                                                   Last 4 digits of account number _            __ _
                                                                                                                                                        $_ _ _  s_,o_oo_._oo_
         Nonpriority Creditor's Name
                                                                                  When was the debt incurred?
         401 WARREN STREET
         Number           Street

         REDWOOD CITY                                CA           94063
         City                                        State       ZIP Code         As of the date you file, the claim is: Check all that apply.

                                                                                  D Contingent
         Who incurred the debt? Check one.                                        D Unliquidated
         D Debtor 1 only                                                          ~ Disputed
         D Debtor 2 only
         D Debtor 1 and Debtor 2 only                                             Type of NONPRIORITY unsecured claim:
         0 At least one of the debtors and another                                D Student loans
         0 Check If this claim is for a community debt                            D Obligations arising out of a separation agreement or divorce
                                                                                      that you did not report as priority claims
         Is the claim subject to offset?                                          D Debts to pension or profit-sharing plans, and other similar debts
         0 No                                                                     lil Other. Specify _D_E_B_T_S__________
         D Yes

  ~ ------------------------- When
                              Last 4 digits of account number _
         Nonpriority Creditor's Namewas the debt incurred?
                                                                                                                               _   _   _                $_ _ _ _ _ _ __




         Number           Street
                                                                                  As of the date you file, the claim Is: Check all that apply.
         City                                        State       ZIP Code
                                                                                  D Contingent
         Who incurred the debt? Check one.                                        D Unliquidated
         D Debtor 1 only                                                          D Disputed
         D Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
         D Debtor 1 and Debtor 2 only
         D At least one of the debtors and another                                D Student loans
                                                                                  D Obligations arising out of a separation agreement or divorce
         D Check If this claim Is for a community debt                                that you did not report as priority claims
         Is the claim subject to offset?                                          D Debts to pension or profit-sharing plans, and other similar debts
         0 No                                                                     D Other. Specify _ _ _ _ _ _ _ _ _ _ _ _ _ __
         D Yes

  EJ -------------------------
         Non priority Creditor's Name
                                                                                  Last 4 digits of account number _ _ _ _
                                                                                                                                                        $_ _ _ _ _ __
                                                                                  When was the debt Incurred?

         Number          Street

                                                                                 As of the date you file, the claim is: Check all that apply.
        City                                         State       ZIP Code

        Who Incurred the debt? Check one.
                                                                                  D Contingent
                                                                                  D Unliquidated
         D Debtor 1 only                                                          D Disputed
         D Debtor 2 only
         D Debtor 1 and Debtor 2 only                                            Type of NONPRIORITY unsecured claim:
         D At least one of the debtors and another
                                                                                  D Student loans
         D Check if this claim is for a community debt                            D Obligations arising out of a separation agreement or divorce
                                                                                      that you did not report as priority claims
        Is the claim subject to offset?
                                                                                 D Debts to pension or profit-sharing plans, and other similar debts
         0 No                                                                    0 Other. Specify _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
         D Yes


  Official Form 106E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   page_of_
 Debtor 1                           Case 22-15317 Doc 1 Filed 09/28/22Case Page      41 of
                                                                           number (ifktKMn).  69
                         CaseMiddle
                First Name    1:23-cv-01795-JKB
                                   Name     Last  Document 23-2 Filed 07/19/23
                                                       Name                                Page  42 of 70
                                                                                            _ _ _ _ _ _ _ _ _ _ _ _ __




            Add the Amounts for Each Type of Unsecured Claim


 6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
    Add the amounts for each type of unsecured claim.




                                                                                   Total claim


                 6a. Domestic support obligations                           6a.                         0.00
 Total claims                                                                      $
 from Part 1
                 6b. Taxes and certain other debts you owe the
                     government                                             6b.                         0.00
                                                                                   $

                 6c. Claims for death or personal injury while you were
                     intoxicated                                            6c.                         0.00
                                                                                   $
                 6d. Other. Add all other priority unsecured claims.
                     Write that amount here.                                6d.                  59,336.00
                                                                                  +$



                 6e. Total. Add lines 6a through 6d.                        6e.
                                                                                   $             59,336.00


                                                                                   Total claim

                6f. Student loans                                           6f.
 Total claims                                                                       $                   0.00
 from Part 2
                69. Obligations arising out of a separation agreement
                    or divorce that you did not report as priority
                    claims                                                  69.     $                   0.00
                6h. Debts to pension or profit-sharing plans, and other
                    similar debts                                           6h.    $                    0.00

                6i. Other. Add all other nonpriority unsecured claims.
                    Write that amount here.                                 6i.   +$             59,336.00


                6j. Total. Add lines 6f through 6i.                         6j.
                                                                                   $             59,336.00




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                   page_of_
                                     Case 22-15317 Doc 1 Filed 09/28/22 Page 42 of 69
                             Case 1:23-cv-01795-JKB Document 23-2 Filed 07/19/23 Page 43 of 70
  Fill 111 this 1nfor111at1on to 1dent1fy your case


  Debtor               DR. KEENAN        KESTER                 COFIELD
                       First Name               Middle Name          Last Name

  Debtor2
  (Spouse If filing)   First Name               Middle Name          Last Name


  United States Bankruptcy Court for the: District of Maryland
                                                                                 B
  Case number
  (If known)                                                                                                                           0 Check if this is an
                                                                                                                                           amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
       iii No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
       □ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule AIB: Property (Official Form 106A/B).

 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
      example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
      unexpired leases.



      Person or company with whom you have the contract or lease                             State what the contract or lease is for


2.1
       Name


       Number            Street


      City                              State        ZIP Code

2.2
      Name


      Number             Street


      City                              State        ZIP Code

2.3
      Name


      Number             Street


      City                              State        ZIP Code

2.4
      Name


      Number             Street


      City                              State        ZIP Code

2.5
      Name


      Number             Street


      City                              State        ZIP Code


Official Form 106G                              Schedule G: Executory Contracts and Unexpired Leases                                        page 1 of_
                   DR. KEENAN           Case  22-15317
                                          KESTER              Doc 1 Filed 09/28/22Case Page
                                                         COFIELD                                 43 _   of_69
   Debtor 1                 CaseMiddle
                   First Name
                                 1:23-cv-01795-JKB
                                       Name      Last Name
                                                              Document 23-2 Filed 07/19/23
                                                                                       number (if known)Page  44 of 70
                                                                                                            _ _ _ _ _ _ _ _ _ _ _ __




  -                Addltlonal Page If You Have More Contracts or Leases

         Person or company with whom you have the contract or lease                      What the contract or lease is for



          Name


          Number        Street


          City                           State      ZIP Code

   2.-
          Name


         Number         Street


         City                           State      ZIP Code

  2.-
         Name


         Number         Street


         City                           State      ZIP Code


  2.-
         Name


         Number        Street


         City                           State      ZIP Code


  2.-
         Name


         Number        Street


         City                           State      ZIP Code


  2.-
         Name


         Number        Street


         City                           State      ZIP Code


  2.-
         Name


         Number        Street


         City                           State      ZIP Code


  2.-
         Name


         Number        Street


         City                           State      ZIP Code



Official Form 106G                              Schedule G: Executory Contracts and Unexpired Leases                         page_ of
                                                                                                                                        -
                                    Case 22-15317 Doc 1 Filed 09/28/22 Page 44 of 69
  Fill 111 this 1nfo1111at1011 to 1de11t1fy your case
                            Case 1:23-cv-01795-JKB Document 23-2 Filed 07/19/23 Page 45 of 70
  Debtor 1          DR. KEENAN                       KESTER                 COFIELD
                      First Name                      Middle Name                Last Name

  Debtor 2
  (Spouse, ii filing) Flrat Name                      Middle Name                Last Name


  United States Bankruptcy Court for the: District of Maryland
                                                                                             E1
  Case number
  (If known)
                                                                                                                                            D Check if this is an
                                                                                                                                               amended filing

Official Form 106H
Schedule H: Your Codebtors                                                                                                                               12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

  1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
      ia No
      □ Yes
  2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
     Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
      ~ No. Go to line 3.
      □ Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
           if No
            □ Yes. In which community state or territory did you live? _ _ _ _ _ _ _ _ . Fill in the name and current address of that person.



                  Name of your spouse, former spouse. or legal equivalent



                  Number            Street



                  City                                          State                        ZIP Code


 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
     shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
     Schedule D (Official Form 106D), Schedule EIF (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
     Schedule EIF, or Schedule G to fill out Column 2.

        Column 1: Your codebtor                                                                           Column 2: The creditor to whom you owe the debt

                                                                                                          Check all schedules that apply:

~        Name
                                                                                                          D Schedule D, line
                                                                                                          D Schedule E/F, line _ _ _
         Number            Street                                                                         D Schedule G, line _ _ _
         City                                                       State                     ZIP Code

§]                                                                                                        D Schedule D, line _ _ _
         Name
                                                                                                          D Schedule E/F, line
         Number            Street                                                                         D Schedule G, line ___
         City                                                       State                     ZIP Code

§]                                                                                                        D Schedule D, line ___
         Name
                                                                                                          D Schedule E/F, line
         Number            Street                                                                         D Schedule G, line ___
         City                                                       State                     ZIPCode



Official Form 106H                                                           Schedule H: Your Codebtors                                         page 1 o f _
  Debtor 1        DR. KEENAN                   KESTER           COFIELD                       Case
                                                                          number (If known)._ _ _ _ _ _ _ _ _ _ _ _ _ __
                  First Name       Case 22-15317
                                 Middle Name
                                           Last Name Doc 1 Filed 09/28/22 Page      45 of 69
                           Case 1:23-cv-01795-JKB Document 23-2 Filed 07/19/23 Page 46 of 70
                  Additional Page to List More Codebtors

        Column 1: Your codebtor                                                                      Column 2: The creditor to whom you owe the debt

                                                                                                     Check all schedules that apply:


         Name                                                                                        □ Schedule D, line
                                                                                                     □ Schedule E/F, line
         Number         Street                                                                       □ Schedule G, line

         City                                           State                     ZIP Code

  []
         Name                                                                                        □ Schedule D, line ___
                                                                                                     □ Schedule E/F, line
         Number         Street                                                                       □ Schedule G, line ___

  G:=-1 City                                State               ZIP Code


  (j :-:N-am_e_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                                                     □ Schedule D, line
                                                                                                     □ Schedule E/F, line ___
         Number         Street                                                                       □ Schedule G, line ___

         City                                           State                    ZIP Code



  EJ     Name                                                                                        □ Schedule D, line ___
                                                                                                     □ Schedule E/F, line
         Number         Street                                                                       □ Schedule G, line ___

         City                                           State                    ZIP Code


  □      Name                                                                                        □ Schedule D, line ___
                                                                                                     □ Schedule E/F, line
         Number         Street                                                                       □ Schedule G, line ___

        City                                            State                    ZIP Code

 Q
        Name                                                                                         □ Schedule D, line ___
                                                                                                     D Schedule E/F, line
        Number         Street                                                                        D Schedule G, line


 EJ     City
                                                        State                    ZIP Code


        :-:N-am_e_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                                                     □ Schedule D, line ___
                                                                                                     □ Schedule E/F, line
        Number         Street                                                                        □ Schedule G, line

        City                                            State                    ZIP Code
 El
                                                                                                     □ Schedule D, line _ __
        Name
                                                                                                     □ Schedule E/F, line
        Number         Street                                                                        □ Schedule G, line _ __


       , City                                           State                    ZIP Code




Official Form 106H                                               Schedule H: Your Codebtors                                            page_of_
                                     Case
 Fill 111 this 111format1011 to 1dent1fy your 22-15317
                                              case Doc 1 Filed 09/28/22 Page 46 of 69
                            Case 1:23-cv-01795-JKB Document 23-2 Filed 07/19/23 Page 47 of 70
  Debtor 1          DR. KEENAN               KESTER              COFIELD
                     First Name              Middle Name           Last Name

  Debtor2
 (Spouse, if filing) First Name              Middle Name           Last Name


  United States Bankruptcy Court for the: District of Maryland

 Case number                                                                                             Check if this is:
  (If known)
                                                                                                         D An amended filing
                                                                                                         D A supplement showing postpetition chapter 13
                                                                                                            income as of the following date:
Official Form 1061                                                                                          MM/ DD/ YYYY

Schedule I: Your Income                                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include Information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


■ if      I        Describe Employment


1. Fill in your employment
   information.                                                          Debtor 1                                        Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with
    information about additional          Employment status           □ Employed                                         0 Employed
    employers.                                                        G;l Not employed                                   0 Not employed
    Include part-time, seasonal, or
    self-employed work.
                                          Occupation
    Occupation may include student
    or homemaker, if it applies.
                                          Employer's name


                                          Employer's address
                                                                     Number    Street                                 Number    Street




                                                                     City               State   ZIP Code              City                 State   ZIP Code

                                          How long employed there?



•§fW              Give Details About Monthly Income

   Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
   spouse unless you are separated.
   If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
   below. If you need more space, attach a separate sheet to this form.

                                                                                                    For Debtor 1       For Debtor 2 or
                                                                                                                       non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
    deductions). if not paid monthly, calculate what the monthly wage would be.          2.             853.00
                                                                                                $                        $

 3. Estimate and list monthly overtime pay.                                              3.   +$           0.00       + $


 4. Calculate gross income. Add line 2 + line 3.                                        4.      $
                                                                                                                   II    $




Official Form 1061                                               Schedule I: Your Income                                                           page 1
                                    Case 22-15317 Doc 1 Filed 09/28/22 Page 47 of 69
                            Case 1:23-cv-01795-JKB Document 23-2 Filed 07/19/23 Page 48 of 70
 Debtor 1        DR. KEENAN                           KESTER                       COFIELD                                              Case number (Nknown)_ _ _ _ _ _ _ _ _ _ _ _ __
                   First Name          Mlddte Name                Last Name



                                                                                                                                    For Debtor 1               For Debtor 2 or
                                                                                                                                                               non-filing spouse

    Copy line 4 here ...............................................................................................   -+ 4.        $_ _ _ _ _                   $_ _ _ __


 s. List all payroll deductions:
     Sa. Tax, Medicare, and Social Security deductions                                                                   Sa.        $            0.00            $
     Sb. Mandatory contributions for retirement plans                                                                    Sb.        $            0.00            $
     Sc. Voluntary contributions for retirement plans                                                                    Sc.        $            0.00            $
     Sd. Required repayments of retirement fund loans                                                                    Sd.        $            0.00            $
     Se. Insurance                                                                                                       Se.        $            0.00            $
     Sf. Domestic support obligations                                                                                    Sf.        $            0.00            $
     Sg. Union dues                                                                                                      Sg.        $            0.00            $
     Sh. Other deductions. Specify: _ _ _ _ _ _ _ _ _ _ _ _ _ __                                                         Sh. +$                  0.00          + $

  6. Add the payroll deductions. Add lines Sa + Sb + Sc + Sd + Se +Sf + Sg + Sh.                                          6.        $            0.00            $

  7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                                  7.        $            0.00            $

 8. List all other Income regularly received:
     Ba. Net income from rental property and from operating a business,
         profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total                                                                                    $_ _ _ _ _ _
                                                                                                                                    $_ _ _0.: . .:·-=-00~
            monthly net income.                                                                                          Ba.

                                                                                                                                        - - - 0.00
     8b. Interest and dividends                                                                                          8b.        $                            $_ _ _ _ __
                                                                                                                                              --
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                                                         Be.
                                                                                                                                    $   - - - 0.00
                                                                                                                                              --                 $_ _ _ __

     8d. Unemployment compensation                                                                                       8d.        $- - - 0.00
                                                                                                                                           --                    $_ _ _ _ __
     Be. Social Security                                                                                                 Be.        $_ _8~5=3=.o~o               $_ _ _ _ __

     Bf. Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Pr~ram) or housing subsidies.
            Specify: FOOD STAMPS                                                      Sf.                                           $        250.00              $

     89. Pension or retirement income                                                                                    89.        $            0.00            $
     8h. Other monthly income. Specify: _ _ _ _ _ _ _ _ _ _ _ _ __                                                       8h. +$                  0.00          +$
  9. Add all other Income. Add lines Ba + 8b + 8c + 8d + Be + Bf +Bg + 8h.                                                9.    I   $     1, 103.ooj
                                                                                                                                                            I    $
                                                                                                                                                                                    I
                                                                                                                                                        1♦ 1
10.Calculate monthly income. Add line 7 + line 9.
   Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                             10   .I   $                            $
                                                                                                                                                                                    I= 1$
                                                                                                                                                                                               1,103.00

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:FOOD STAMPS                                                                                                                                                       11. + $_ _ _0._0_0
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                                        12.              1,103.00
                                                                                                                                                                                        Combined
                                                                                                                                                                                        monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
     S No.
     0 Yes. Explain:

Official Form 1061                                                                     Schedule I: Your Income                                                                              page2
                                     Case 22-15317 Doc 1 Filed 09/28/22 Page 48 of 69
                             Case 1:23-cv-01795-JKB Document 23-2 Filed 07/19/23 Page 49 of 70
  Fill 111 this 111fonnat1011 to 1dent1fy yout case.


  Debtor 1          DR. KEENAN                 KESTER               COFIELD
                      First Name              Middle Name              last Name                       Check if this is:
  Debtor 2
  (Spouse, if filing) First Name              Middle Name              Last Name
                                                                                                       0 An amended filing
                                                                                                       0 A supplement showing postpetition chapter 13
  United States Bankruptcy Court for the: District of Maryland                      B                      expenses as of the following date:
  Case number                                                                                              MM/ DD/ YYYY
   (If known)




 Official Form 106J
 Schedule J: Your Expenses                                                                                                                           12/15

 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
 (if known). Answer every question.

■ If        41       Describe Your Household

1. Is this a joint case?

    ll!f No. Go to line 2.
    0 Yes. Does Debtor 2 llve in a separate household?
                  liiif No
                  0 Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2. Do you have dependents?                   iB' No                                 Oependent•s relationship to              Dependent's   Does dependent live
                                                                                                                                           with you?
    Do not list Debtor 1 and                 D Yes. Fill out this information for   Debtor 1 or Debtor 2                     age
    Debtor 2.                                   each dependent.. ........................ - - - - - - - - - - - -
                                                                                                                                           D No
    Do not state the dependents'                                                                                                           0 Yes
    names.
                                                                                                                                           0 No
                                                                                                                                           D Yes
                                                                                                                                           0 No
                                                                                                                                           D Yes
                                                                                                                                           0 No
                                                                                                                                           D Yes
                                                                                                                                           D No
                                                                                                                                           D Yes
3. Do your expenses include                  D No
   expenses of people other than
   yourself and your dependents?             D Yes

                  Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
 expenses as of a date after the bankruptcy is filed. If this Is a supplemental Schedule J, check the box at the top of the form and fill in the
 applicable date.
 Include expenses paid for with non-cash government assistance if you know the value of
                                                                                                                                Your expenses
 such assistance and have included it on Schedule I: Your Income (Official Form 1061.)
  4. The rental or home ownership expenses for your residence. Include first mortgage payments and                                               0.00
                                                                                                                       4.
                                                                                                                               $
     any rent for the ground or lot.

      If not included in line 4:
      4a.       Real estate taxes                                                                                      4a.     $                 0.00
      4b.       Property, homeowner's, or renter's insurance                                                           4b.     $                 0.00
      4c.       Home maintenance, repair, and upkeep expenses                                                          4c.     $                 0.00
      4d.       Homeowners association or condominium dues                                                             4d.     $                 0.00

Official Form 106J                                               Schedule J: Your Expenses                                                       page 1
                 DR. KEENAN   CaseKESTER
                                   22-15317 Doc  1 Filed 09/28/22 number
                                             COFIELD                 Page(ff known,>
                                                                             49 _    of_69
                                                                                         _ _ _ _ _ _ _ _ _ _ _ __
 Debtor 1             Case 1:23-cv-01795-JKB
                 First Name     Middle Name
                                             Document 23-2 FiledCase
                                                  Last Name
                                                                  07/19/23          Page   50 of 70


                                                                                                                   Your expenses


                                                                                                                   $                 0.00
 5. Additional mortgage payments for your residence, such as home equity loans                              5.


 6. Utilities:
      6a.   Electricity, heat, natural gas                                                                  6a.    $                 0.00
      6b.   Water, sewer, garbage collection                                                                6b.    $                 0.00
      6c.   Telephone, cell phone, Internet, satellite, and cable services                                  6c.    $               275.00
      6d.   Other. Specify:                                                                                 6d.    $                 0.00

 7. Food and housekeeping supplies                                                                          7.     $                 0.00

 8. Childcare and children's education costs                                                                8.     $                 0.00
 9. Clothing, laundry, and dry cleaning                                                                     9.     $                 0.00
10.   Personal care products and services                                                                   10.    $                 0.00
11. Medical and dental expenses                                                                             11.    $                 0.00
12. Transportation. Include gas, maintenance, bus or train fare.                                                                   400.00
                                                                                                                   $
    Do not include car payments.                                                                            12.

13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                    13.    $                 0.00
14.   Charitable contributions and religious donations                                                      14.    $                 0.00

15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                   15a.   $                 0.00
      15b. Health insurance                                                                                 15b.   $                 0.00
      15c. Vehicle insurance                                                                                15c.   $                 0.00
      15d. Other insurance. Specify:                                                                        15d.   $                 0.00

16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
                                                                                                            16.    $                 0.00
      Specify:

17. Installment or lease payments:

      17a. Car payments for Vehicle 1                                                                       17a.   $                 0.00

      17b. Car payments for Vehicle 2                                                                       17b.   $                 0.00
                                                                                                            17c.   $                 0.00
      17c. Other. Specify:

      17d. Other. Specify:                                                                                  17d.   $                 0.00

18. Your payments of alimony, maintenance, and support that you did not report as deducted from
    your pay on line 5, Schedule I, Your Income (Official Form 1061).                                        18.
                                                                                                                   $                 0.00

19. Other payments you make to support others who do not live with you.

      Specify:                                                                                               19.   $                 0.00

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

      20a. Mortgages on other property                                                                      20a.   $                 0.00

      20b. Real estate taxes                                                                                20b.   $                 0.00
      20c. Property, homeowner's, or renter's insurance                                                     20c.   $                 0.00
      20d. Maintenance, repair, and upkeep expenses                                                         20d.   $                 0.00
      20e. Homeowner's association or condominium dues                                                      20e.   $                 0.00


Official Form 106J                                            Schedule J: Your Expenses                                              page 2
                                   Case 22-15317 Doc 1 Filed 09/28/22 Page 50 of 69
                           Case 1:23-cv-01795-JKB Document 23-2 Filed 07/19/23 Page 51 of 70
  Debtor 1       DR. KEENAN                    KESTER                  COFIELD                 Case number (if known,>_ _ _ _ _ _ _ _ _ _ _ _ _ __
                   First Name    Middte Name           Last Name




 21.    Other. Specify:                                                                                         21.       +$              0.00

 22.    Calculate your monthly expenses.

        22a. Add lines 4 through 21.                                                                          22a.    I   $            675.00
        22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                  22b.    i   $               0.00
        22c. Add line 22a and 22b. The result is your monthly expenses.                                       22c.                     675.00;
                                                                                                                          $



 23. Calculate your monthly net income.

       23a.   Copy line 12 (your combined monthly income) from Schedule I.                                                 $         1,103.00
                                                                                                              23a.

       23b.   Copy your monthly expenses from line 22c above.                                                 23b.        -$           675.00
       23c.   Subtract your monthly expenses from your monthly income.
              The result is your monthly net income.                                                                       $          438.00
                                                                                                              23c.




 24. Do you expect an increase or decrease in your expenses within the year after you file this form?

       For example, do you expect to finish paying for your car loan within the year or do you expect your
       mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

       if No.
       □ Yes.       Explain here:




Official Form 106J                                                 Schedule J: Your Expenses                                            page 3
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                                 Case 1:23-cv-01795-JKB Document 23-2 Filed 07/19/23 Page 52 of 70
Fill in this information to identify your case:
                                                                                                                              c;,...i..




Debtor 1          DR. KEENAN
                    First Name
                                            KESTER
                                            Middle Name
                                                               COFIELD
                                                                     Last Name
                                                                                                                             rlLt:()
Debtor 2
(Spouse, if filing) First Name              Middle Name              Last Name
                                                                                                                     2'22 SEP 28 AH 10: 4i
United States Bankruptcy Court for the: District of Maryland
                                                                                                                    U.S. BANKRUPTf'V 'TUR'
Case number
(If known)
                                                                                                                    5JSTRICT OF Mf(RYt;~p
                                                                                                                           BA l TIHORF U Check if this is an
                                                                                                                                             amended filing



  Official Form 106Dec
  Declara tion About an Individu al Debtor's Schedu les                                                                                               12/15


  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
                                                                                                                                          20
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                     Sign Below



        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

        lif No
        D Yes. Name of person_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _. Attach Bankruptcy Petition Preparer's Notice, Declaration, and
                                                                                                 Signature (Official Form 119).




        Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
        that they are true and correct.




                                                                    X
          Signature of Debtor 1                                          Signature of Debtor 2


          Date 09/27/2022                                                Date _ _ _ _ __
                 MM/     DD      /   YYYY                                        MM/ DD /   YYYY




   Official Form 106Dec                                        Declaration About an Individual Debtor's Schedules
                                     Case 22-15317 Doc 1 Filed 09/28/22 Page 52 of 69
                             Case 1:23-cv-01795-JKB Document 23-2 Filed 07/19/23 Page 53 of 70
   Fill 111 til1s information to 1dent1fy your case


   Debtor 1             DR. KEENAN            KESTER          COFIELD
                        First Name              Middle Name              Last Name

   Debtor2
   (Spouse, if filing) First Name               Middle Name              Lest Name


   United States Bankruptcy Court for the: _ _ _ _ District of _ _ __
                                                                                                                         ii22 SEP 28 AM IO: 4,
   Case number                                                                                                      iJ.S. BANKl'Uftj, . ,.
    (If known)                                                                                                      DISTRICT Of°R:!-cn~IJ~Js is an
                                                                                                                          B~LTIMoP"H[flling


 Official Form 107
 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                 04/22
  Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
  information. If more space Is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
  number (if known). Answer every question.


                   Give Details About Your Marital Status and Where You Lived Before


   1. What is your current marital status?

        D Married
        lei Not married

   2. During the last 3 years, have you lived anywhere other than where you live now?

        l!f' No
        D Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
                 Debtor 1:                                        Dates Debtor 1     Debtor 2:                                         Dates Debtor 2
                                                                  lived there                                                          lived there


                                                                                     D Same as Debtor 1                               D Same as Debtor 1
                  1236 KENDRICK RD.                               From                                                                   From _ __
                 Number              Street                                             Number Street
                                                                  To                                                                     To


                  ROSEDALE                    MD2
                 City                         State ZIP Code                            City                     State ZIP Code


                                                                                     0 Same as Debtor 1                               D Same as Debtor 1
                                                                  From                                                                   From _ __
                 Number              Street                                             Number Street
                                                                  To                                                                     To




                 City                         State ZIP Code                            City                     State     ZIP Code


   3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
      states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
       l!f' No
        D Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).


 •§fj             Explain the Sources of Your Income

Official Form 107                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                        page 1
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Debtor 1     DR. KEENAN              KESTER           COFIELD                                       Case number (dknown). _ _ _ _ _ _ _ _ _ _ _ _ _ __
               First Name    Middle Name           Last Name




  4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list ii only once under Debtor 1.

     !f No
     D Yes. Fill in the details.
                                                         Debtor1                                             Debtor2

                                                         Sources of income          Gross Income             Sources of Income         Gross Income
                                                         Check all that apply.      (before deductions and   Check all that apply.     (before deductions and
                                                                                    exclusions)                                        exclusions)


           From January 1 of current year until
                                                          D Wages, commissions,     $_ _ _ _ _ __
                                                                                                             D Wages, commissions,    $_ _ _ _ _ _ _
                                                               bonuses, tips                                     bonuses, tips
           the date you filed for bankruptcy:
                                                          D Operating a business                             D Operating a business

           For last calendar year:                        D Wages, commissions,                              D Wages, commissions,
                                                               bonuses.tips         $_ _ _ _ _ __                bonuses,tlps         $_ _ _ _ _ __
           (January 1 to December 31, _ _ __,
                                           yyyy
                                                          D Operating a business                             D Operating a business

           For the calendar year before that:             D Wages, commissions,                              D Wages, commissions,
                                                               bonuses.tips         $ _ _ _ _ _ __               bonuses.tips         $ _ _ _ _ _ __
           (January 1 to December 31, _ _ __,
                                           yyyy
                                                          D Operating a business                             D Operating a business


 5. Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
     unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
     gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

     liJ No
     D Yes. Fill in the details.
                                                         Debtor1                                              Debtor2

                                                         Sources of Income          Gross Income from         Sources of Income       Gross Income from
                                                         Describe below.            each source               Describe below.         each source
                                                                                    (before deductions and                            (before deductions and
                                                                                    exclusions)                                       exclusions)



           From January 1 of current year until                                    $_ _ _ _ _ _ _ _ - - - - - - - - - - $_ _ _ _ _ _ __
           the date you filed for bankruptcy:                                      $_ _ _ _ _ _ _ _ - - - - - - - - - - $_ _ _ _ _ __

                                                                                   $_ _ _ _ _ _ _ _ - - - - - - - - - - $_ _ _ _ _ __



           For last calendar year:                                                 $ _ _ _ _ _ _ __                                   $_ _ _ _ _ __

           (January 1 to December 31, _ _ _)                                       $ _ _ _ _ _ _ __                                   $_ _ _ _ _ __
                                           yyyy
                                                                                   $_ _ _ _ _ _ _ _ - - - - - - - - - - $_ _ _ _ _ _ __



           For the calendar year before that:                                      $_ _ _ _ _ __                                      $_ _ _ _ _ __

           (January 1 to December 31, _ _ _)                                       $ _ _ _ _ _ _ __                                   $_ _ _ _ _ __
                                           yyyy
                                                                                   $_ _ _ _ _ __                                      $ _ _ _ _ _ _ __




Official Form 107                             Statement of Financial Affairs for Individuals Filing for Bankruptcy                                page 2
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Debtor 1     DR. KEENAN                  KESTER           COFIELD                                  Case number (if known),_ _ _ _ _ _ _ _ _ _ _ _ _ __
              First Name        Mtddle Name            Last Name




             List Certain Payments You Mada Before You Filed for Bankruptcy



  6. Are either Debtor 1's or Debtor 2's debts primarily consumer debts?

     0 No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
              "incurred by an individual primarily for a personal, family, or household purpose."
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?

              0 No. Go to line 7.
              0 Yes. List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the
                           total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                           child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
              • Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.

     0 Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

              0 No. Go to line 7.
              0 Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                           creditor. Do not include payments for domestic support obligations, such as child support and
                           alimony. Also, do not include payments to an attorney for this bankruptcy case.


                                                                       Dates of     Total amount paid       Amount you still owe    Was this payment for ...
                                                                       payment


                                                                                    $_ _ _ _ _ _ _ $_ _ _ _ _ _ __
                     Creditor's Name
                                                                                                                                    0 Mortgage
                                                                                                                                    0 Car
                     Number    Street                                                                                               0 Credit card
                                                                                                                                    0 Loan repayment
                                                                                                                                    0 Suppliers or vendors
                    City                      State        ZIP Code
                                                                                                                                    0 Other _ _ _ __


                                                                                    $ _ _ _ _ _ _ _ $ _ _ _ _ _ _ __
                                                                                                                                    0 Mortgage
                     Creditor's Name
                                                                                                                                    0 Car
                    Number     Street                                                                                               0 Credit card
                                                                                                                                    0 Loan repayment
                                                                                                                                    0 Suppliers or vendors
                    City                      State       ZIP Code
                                                                                                                                    0 Other _ _ _ __


                                                                                    $_ _ _ _ _ _ _ $_ _ _ _ _ _ _ _
                                                                                                                                    0 Mortgage
                    Creditor's Name
                                                                                                                                    0 Car
                    Number     Street                                                                                               0 Credit card
                                                                                                                                    0 Loan repayment
                                                                                                                                    0 Suppliers or vendors
                    City                      State       ZIP Code
                                                                                                                                    0 Other _ _ _ __



Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                          page 3
              DR. KEENAN   Case 22-15317
                            KESTER         Doc 1 Filed 09/28/22CasePage
                                     COFIELD                               55 of 69
Debtor 1           Case 1:23-cv-01795-JKB
                  First Name
                                           Document 23-2 Filed 07/19/23
                                  Middle Name           Last Name
                                                                                  Page 56 of 70
                                                                   number (ff known) _ _ _ _ _ _ _ _ _ _ _ _ _ __




 7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
    Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
    corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
    agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
     such as child support and alimony.

     l!f No
     □ Yes. List all payments to an insider.
                                                                       Dates of     Total amount      Amount you still    Reason for this payment
                                                                       payment      paid              owe


                                                                                    $______ $_ _ _ _ __
           Insider's Name



           Number        Street




           City                                 State   ZIP Code


                                                                                    $_ _ _ _ _ $_ _ _ __
           Insider's Name


           Number        Street




           City                                 State   ZIP Code



 8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
     an insider?
     Include payments on debts guaranteed or cosigned by an insider.

     l!f No
     □ Yes. List all payments that benefited an insider.
                                                                      Dates of       Total amount     Amount you still    Reason for this payment
                                                                      payment        paid             owe
                                                                                                                          Include creditor's name

                                                                                    $. _ _ _ _ _ $_ _ _ __
           Insider's Name



           Number        Street




           City                                 State   ZIP Code



                                                                                    $_ _ _ _ _ $_ _ _ __
           Insider's Name



           Number        Street




           City                                 State   ZIP Code




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Debtor 1     DR. KEENAN                      KESTER            COFIELD                                        Case number (if known) _ _ _ _ _ _ _ _ _ _ _ _ _ __
              First Name            Middle Name            Last Name




             Identify Legal Actions, Repossessions, and Foreclosures
 9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
     and contract disputes.

     D No
     10 Yes. Fill in the details.
                                                                     Nature of the case                 Court or agency                                 Status of the case

                                                                MVA BRAKES VEHICLE
                                                                                                        USDC
           case title COFIELD            v PASSPORT HAD WRONG ROTORS                                   Court Name
                                                                                                                                                        lia Pending
           MOTORS
                                                                                                                                                        D On appeal
                                                                                                       Number    Street                                 D Concluded
           Case number      1:22-cv-01989-GLR                                                           BALTIMORE                    MD       21201
                                                                                                       City                  State    ZIP Code


                                                                MVA ACCIDENT
                                                                                                        BALT CITY CIRCUIT COURT
           case title COFIELD v WORKTIME                                                               Court Name
                                                                                                                                                        0 Pending
                                                                                                                                                        D Onappeal
                                                                                                        NORTH CALVERT ST
                                                                                                       Number    Street                                 D Concluded
           Case number      24-C-22-001940                                                              BALTIMORE                    MD       21202
                                                                                                       City                  State    ZIP Code



 10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
     Check all that apply and fill in the details below.

     l!f No. Go to line 11.
     D Yes. Fill in the information below.
                                                                               Describe the property                                   Date           Value of the property



                                                                                                                                                      $_ _ _ _ _ _
               Creditor's Name



               Number      Street                                              Explain what happened

                                                                               D Property was repossessed.
                                                                               D Property was foreclosed.
                                                                               D Property was garnished.
              City                                State   ZIP Code             D Property was attached, seized, or levied.
                                                                               Describe the property                                   Date            Value of the propartJ



                                                                                                                                                      $_ _ _ _ _ _
              Creditor's Name



              Number       Street
                                                                               Explain what happened


                                                                               D Property was repossessed.
                                                                               D Property was foreclosed.
              City                                State   ZIP Code
                                                                               D Property was garnished.
                                                                               D Property was attached, seized, or levied.


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Debtor 1          DR. KEENAN              KESTER             COFIELD                                     Case number (ff known),_ _ _ _ _ _ _ _ _ _ _ _ _ __
                  First Name     Middle Name             Last Name




 11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
     accounts or refuse to make a payment because you owed a debt?
     ~ No
     0 Yes. Fill in the details.
                                                                 Describe the action the creditor took                       Date action      Amount
                                                                                                                             was taken
           Creditor's. Name

                                                                                                                                              $_ _ _ _ _ __
           Number      Street




           City                           State   ZIP Code       Last 4 digits of account number: XXXX-_ _ _ _


  12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
      creditors, a court-appointed receiver, a custodian, or another official?
     lif No
     0 Yes

•§if              List Certain Gifts and Contributions


  13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
     0 No
     0 Yes. Fill in the details for each gift.

            Gifts with a total value of more than $600           Describe the gifts                                          Dates you gave      Value
            per person                                                                                                       the gifts



                                                                                                                                                $_ _ _ _ __
           Person to Whom You Gave the Gift

                                                                                                                                                $_ _ _ _ _ _



           Number      Street



           City                           State   ZIP Code


           Person's relationship to you


           Gifts with a total value of more than $600            Describe the gifts                                          Dates you gave     Value
           per person                                                                                                        the gifts


                                                                                                                                                $_ _ _ __
           Person to Whom You Gave the Gift

                                                                                                                                                $_ _ _ _ _ _



           Number      Street



           City                           State   ZIP Code


           Person's relationship to you _ _ _ _ __



Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                page 6
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Debtor 1          DR. KEENAN                 KESTER             COFIELD                                          Case number (If known), _ _ _ _ _ _ _ _ _ _ _ _ _ __
                   First Name     Middle Name                Last Name




 14. Within 2 years before you flied for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

     Ga No
     D Yes. Fill in the details for each gift or contribution.
            Gifts or contributions to charities                     Describe what you contributed                                         Date you          Value
            that total more than $600                                                                                                     contributed



                                                                                                                                                            $_ _ _ __
           Charity's Name


                                                                                                                                                            $_ _ _ _ __



           Number      Street




           City           State        ZIP Code




1111               List Certain Losses

  15. Within 1 year before you flied for bankruptcy or since you flied for bankruptcy, did you lose anything because of theft, fire, other
      disaster, or gambling?

     D No
     lil Yes. Fill in the details.
            Describe the property you lost and                       Describe any Insurance coverage for the loss                         Date of your      Value of property
            how the loss occurred                                                                                                         loss              lost
                                                                     Include the amount that insurance has paid. List pending insurance
                                                                     claims on line 33 of Schedule AIB: Property.

           NEW IPHONE STOLEN AND                                   NONE                                                                                        1,100.00
                                                                                                                                                            $--- ---
           OTHER PROPERTY. HAVE NO
           DETAILS, ETC.

•¥18              List Certain Payments or Transfers

 16. Within 1 year before you flied for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
     you consulted about seeking bankruptcy or preparing a bankruptcy petition?
     Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

     liif No
     D Yes. Fill in the details.
                                                                     Description and value of any property transferred                    Date payment or   Amount of payment
                                                                                                                                          transfer was
            Person Who Was Paid
                                                                                                                                          made


            Number       Street                                                                                                                             $_ _ _ _ _ _


                                                                                                                                                            $_ _ _ _ _ _

            City                          State   ZIP Code



            Email or webstte address


            Person Who Made the Payment, if Not You



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Debtor 1      DR. KEENAN                   KESTER             COFIELD                                        Case number (if known), _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                  First Name      Middle Name              Last Name




                                                                   Description and value of any property transferred               Date payment or        Amount of
                                                                                                                                   transfer was made      payment


           Person Who Was Paid
                                                                                                                                                          $_ _ _ _ __

           Number       Street
                                                                                                                                                          $._ _ _ _ __




           City                        State    ZIP Code




           Email or website address


           Person Who Made the Payment, if Not You


  17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
      promised to help you deal with your creditors or to make payments to your creditors?
     Do not include any payment or transfer that you listed on line 16.

     IS' No
     D Yes. Fill in the details.
                                                                   Description and value of any property transferred                Date payment or       Amount of payment
                                                                                                                                    transfer was
                                                                                                                                    made
           Person Who Was Paid

                                                                                                                                                          $._ _ _ __
           Number        Street

                                                                                                                                                          $,_ _ _ __

           City                        State    ZIP Code

  18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
      transferred In the ordinary course of your business or financial affairs?
      Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
     Do not include gifts and transfers that you have already listed on this statement.
     8No
     D Yes. Fill in the details.
                                                                   Description and value of property         Describe any property or payments received      Date transfer
                                                                   transferred                               or debts paid In exchange                       was made

           Person Who Received Transfer


           Number        Street




           City                        State    ZIP Code


           Person's relationship to you _ _ _ _ __



           Person Who Received Transfer



           Number        Street




           City                        State    ZIP Code

           Person's relationship to you _ _ _ _ __

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Debtor 1      DR. KEENAN                    KESTER             COFIELD                                        Case number (if known), _ _ _ _ _ _ _ _ _ _ _ _ _ __
                   First Name      Middle Name              Last Name




 19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
     are a beneficiary? (These are often called asset-protection devices.)

     10 No
     D Yes. Fill in the details.
                                                                    Description and value of the property transferred                                        Date transfer
                                                                                                                                                             was made



           Name of trust




              Uet Certain Flnanclal Accounts, lnatrumenta, Safe Depoalt BoxN, and storage Units
 20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
     closed, sold, moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
     brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
     if No
     D Yes. Fill in the details.
                                                                        Last 4 digits of account number   Type of account or       Date account was       Last balance before
                                                                                                          Instrument               closed, sold, moved,   closing or transfer
                                                                                                                                   or transferred


            Name of Financial Institution
                                                                                                          D Checking                                      $_ _ _ _ _
                                                                        XXXX-_ -          -     -

            Number        Street
                                                                                                          D Savings
                                                                                                          D Money market
                                                                                                          D Brokerage
            City                        State    ZIP Code                                                 □ Other_ _ __


                                                                                                                                                          $_ _ _ __
                                                                        XXXX-_ _ _ _                      □ Checking
            Name of Financial Institution
                                                                                                          D Savings
            Number        Street                                                                          D Money market
                                                                                                          D Brokerage
                                                                                                          □ Other_ _ __
            City                        State    ZIP Code


  21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
      securities, cash, or other valuables?
     CJ No
     D Yes. Fill in the details.
                                                                        Who else had access to it?                   Describe the contents                       Do you stlll
                                                                                                                                                                 have It?

                                                                                                                                                                 □ No
            Name of Financial Institution                           Name
                                                                                                                                                                 D Yes

            Number        Street                                    Number      Street


                                                                    City          State       ZIP Coda

            City                        State    ZIP Code



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Debtor 1       DR. KEENAN                 KESTER              COFIELD                                                  Case number (ff known)_ _ _ _ _ _ _ _ _ _ _ _ _ __
                   First Name      MiddteName              Last Name




22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
      el No
      □ Yes. Fill in the details.
                                                                  Who else has or had access to it?                         Describe the contents                  Do you still
                                                                                                                                                                   have it?

                                                                                                                                                                    □ No
           Name of Storage Facility                                Name                                                                                             □ Yes

           Number         Streat                                   Number    Streat


                                                                   City State ZIP Code


           City                        State    ZIP Code



                     Identify Property You Hold or Control for Someone Else

  23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
      or hold In trust for someone.
       1B No
       □ Yes. Fill in the details.
                                                                  Where Is the property?                                    Describe the property              Value


                                                                                                                                                               $_ _ __
            Owner's Name

                                                                 Number     Street
            Number        Street



                                                                 City                            State      ZIP Coda
            City                        State    ZIP Code


                      Give Detall• About Environmental Information

  For the purpose of Part 10, the following definitions apply:
  ■    Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
       hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
       including statutes or regulations controlling the cleanup of these substances, wastes, or material.

  ■    Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
       utilize it or used to own, operate, or utilize it, including disposal sites.

  ■    Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
       substance, hazardous material, pollutant, contaminant, or similar term.

  Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

  24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

       el No
       □ Yes. Fill In the details.
                                                                   Governmental unit                            Environmental law, If you know It              Date of notice




           Name of site                                           Govemmental unit


           Number        Street                                   Number    Street


                                                                  City                   State   ZIP Code



           City                        State    ZIP Code




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Debtor 1      DR.KEENAN                    KESTER           COFIELD                                                  Case number (ff known)_ _ _ _ _ _ _ _ _ _ _ _ _ __
                   First Name      Middle Name          Last Name




 25. Have you notified any governmental unit of any release of hazardous material?

     IHNo
     0 Yes. Fill in the details.
                                                               Governmental unit                                 Environmental law, If you know It                    Date of notice




            Name ofslta                                       Governmental unit


            Number        Streat                              Number       Streat



                                                              City                    State    ZIP Code


            City                        State    ZIP Coda


 26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

     0 No
     0 Yes. Fill In the details.
                                                                                                                                                                       Status of the
                                                                    Court or agency                                   Nature of the case
                                                                                                                                                                       case

           Case title_ _ _ _ _ _ _ _ _ _ __
                                                                                                                                                                       0 Pending
                                                                    Court Name
                                                                                                                                                                       0 On appeal
                                                                    Number   Streat                                                                                    0 Concluded

           Case number                                              City                      State   ZIP Coda



■ #f f      I        Give Details About Your Buslneu or Connections to Any Busln. . .
  27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
           0 A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
           0 A member of a limited liability company {LLC) or limited liability partnership {LLP)
           □ A partner in a partnership
           □ An officer, director, or managing executive of a corporation
           □ An owner of at least 5% of the voting or equity securities of a corporation

      1H No. None of the above applies. Go to Part 12.
      □ Yes. Check all that apply above and fill in the details below for each business.
                                                                    Describe the nature of the business                              Employer Identification number
                                                                                                                                     Do not Include Social Security number or ITIN.
            Bualnaaa Name
                                                                                                                                     EIN: _ _ _ _ _ _ _ _ _
            Number        Streat
                                                                    Name of accountant or bookkeeper                                 Dates business existed


                                                                                                                                     From                To _ __

            City                         State   ZIP Coda
                                                                    Describe the nature of the business                              Employer Identification number
                                                                                                                                     Do not Include Social Security number or ITIN.
            Buslneu Name

                                                                                                                                     EIN: _ _ _ _ _ _ _ _ _
            Number        Streat
                                                                    Name of accountant or bookkeeper                                 Dates business existed


                                                                                                                                     From                To _ __
            City                         State   ZIP Coda


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Debtor 1       DR.KEENAN KESTER COFIELD                     Case number (ff                                  known)._ _ _ _ _ _ _ _ _ _ _ _ _ __

                             Midd~Name            Last Name




                                                                                                             Employer Identification number
                                                          Describe the nature of the business
                                                                                                             Do not Include Soclal Security number or ITIN.
           Business Name
                                                                                                             EIN: _ _ _ _ _ _ _ _ _


           Number   Street                                                                                   Dates business existed
                                                              Name of accountant or bookkeeper



                                                                                                             From     _ _ _ To _ __
           City                    State   ZIP Coda




 28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
     institutions, creditors, or other parties.

     liZI No
     0 Yes. Fill in the details below.
                                                              Date issued




           Name                                               MM/00/YYYY



           Number   Street




           City                    State   ZIP Code




•Bit!             Sign a.ow

       I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
       answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
       in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
       18 U.S.C. §§ 152, 1341, 1519, and 3571.



       X                                                                    X
           Signature of Debtor 1                                                Signature of Debtor 2


           Date 09/27/2022                                                      Date _ _ _ _ __

       Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

       CJ No
       D Yes

       Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
       10' No
       0 Yes. Name of person_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _. Attach the Bankruptcy Petition Preparers Notice,
                                                                                                        Declaration, and Signature (Official Form 119).




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                                     United States Bankruptcy Court
                                          District of Maryland
                                                                                              4'22 SEP 28 AN 10: 4•

In Re: COFIELD

                  Debtor(s)


                           VERIFICATION OF CREDITOR MATRIX
The above named Debtors hereby verify that the attached list of creditors is true and correct to the best of their
knowledge.


Date: 09/27/2022
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                               UNITED STATES BANKRUPTCY COURT
                                        DISTRICT OF MARYLAND


In Re: COFIELD                                 Case Number:- - - - - - - -


        Debtors                                Chapter: 7


                                     CREDITORS MATRIX MAILING LIST

         COMES now the Debtor(s) Dr. Keenan Cofield, in the above styled matter with the


Creditors Matrix List. as follows:




GEICO
PO BOX 70776
PHILADELPHIA, PA 19176


GEICO INSURANCE
PO BOX 9500
FREDERSBURG, VA 22403


T-MOBILE
PO BOX 629025
EL DORADO, CA 95762


ALLY FINANCIAL
PO BOX 380902
BLOOMINGTON, MD 55438
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ALLY
PO BOX 78234
PHOENIX, AZ 85062


CREDIT ONE
PO BOX 95516
LAS VEGAS, NV 89193


FIT CREDIT CARD
PO BOX 6812
CAROL STREAM, IL 60197


FIRST PREMIER
PO BOX 5519
SIOUX FALLS, SD 57117


CITY OF BALTIMORE/PARKING FINES SECTION
PO BOX 13327
BALTIMORE, MD 21203


CITY OF BALTIMORE-PARKING FINES & FEES SECTION
100 HOLLIDAY STREET
BALTIMORE, MD 21201


DISTRICT COURT OF MD-CITATION TICKET
P.O. BOX 6676
ANNAPOLIS, MD 21401
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MARYLAND STATE POLICE
TICKET CITATION SECTION-OWOXD3
1201 REISTERSTOWN RD.
PIKESVILLE, MD 21208


NAVY FEDERAL CREDIT UNION
PO BOX 3000
MERRIFIELD, VA 22119


CITIBANK
100 CITIBANK DRIVE
SAN ANTONIO, TX 78245


FED EXP/SYNTER RESOURCE GROUP
PO BOX 63247
NORTH CHARLESTON, SC 29419


REFLEX MASTERCARD
PO BOX 3220
BUFFALO, NY 14240


TRUIST BANK
214 N. TRYON ST.
CHARLOTTE, NC 28202


ETRADE MORGAN STANLEY
PO BOX484
JERSEY CITY, NJ 07303
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AAA-MEMBERSHIPS
PO BOX 71344
PHILADELPHIA, PA 19176


FIDELITY
PO BOX 28001
ALBUQUERQUE, NM 87125


MD TRANSPORTATION AUTHORITY
PO BOX 12853
PHILADELPHIA, PA 19176


MD TRANSPORTATION AUTHORITY
BANKRUPTCY-TOLLS/TICKETS ADMIN FEES
PO BOX 5060
MIDDLE RIVER, MD 21220


MD MOTOR VEHICLE ADMINISTRATION
BANKRUPTCY/COLLECTION/UN IT
6601 RITCHIE HIGHWAY, NE
GLEN BURNIE, MD 21062


EX PASS OF MD
PO BOX 17600
BALTIMORE, MD 21297


MD TRANSPORTATION AUTHORITY
2310 BROENING HIGHWAY
BALTIMORE, MD 21224
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MD MVA CENTRAL COLLECTIONS
6601 RITCHIE HIGHWAY
GLEN BURNIE, MD 21062


MD COMPTROLLER-TAX COLLECTIONS
80 CALVERT ST/PO BOX 466
ANNAPOLIS, MD 21202


WELLS FARGO
301 N. TRYON STREET
CHARLOTTE, NC 28282


HOWARD BANK
3301 BOSTON STREET
BALTIMORE, MD 21224


MERRILL LYNCH
200 PARK AVE.
NEW YOEK, NY 10166


BLUEVINE
401 WARREN STREET
REDWOOD CITY, CA 94063
